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 1                                                                  The Honorable Marsha J. Pechman

 2

 3

 4

 5

 6

 7
                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 9
     DANIEL HOPKINS,                                        NO. 2:18-cv-01723-MJP
10
                      Plaintiff,                            JOINT PRETRIAL ORDER
11
             v.
12
     INTEGON GENERAL INSURANCE
13
     CORPORATION,
14
                      Defendant.
15

16
             Parties submits the following Joint Pretrial Order pursuant to the Court’s Local Civil
17
     Rule 16.1:
18
                                         I.      JURISDICTION
19
             Defendant Integon General Insurance Corporation is an insurance company organized
20
     under the laws of the State of North Carolina.           Plaintiff Mr. Hopkins is a resident of
21
     Washington State. Plaintiff filed suit in King County Superior Court on October 17, 2018.
22
     Defendant removed the case to the United States District Court, Western District of
23
     Washington, on November 30, 2018, citing 28 U.S.C. § 1332, § 1441 and § 1446. Plaintiff has
24
     not objected to the jurisdiction of the federal court. Accordingly, both parties agree that
25
     jurisdiction is appropriate based on diversity of citizenship of the parties.




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 1                                     II.    CLAIMS AND DEFENSES
 2           Plaintiff will pursue the following claims at trial:
 3           1.        Claim for insurance benefits under UIM

 4           2.        Negligence

 5           3.        Bad Faith

 6           4.        Violation of the Insurance Fair Conduct Act (IFCA)

 7           5.        Violation of the Consumer Protection Act (CPA)

 8           Defendant will pursue the following affirmative defenses at trial:
 9           1. Plaintiff sustained no extracontractual damages, and all alleged damages were

10                 caused by the underlying motor vehicle accident and not by Defendant’s conduct.

11           2. Plaintiff’s claim for breach of contract is barred because Defendant never breached

12                 the Policy, and even if some breach occurred, it caused no damages to Plaintiff.

13           3. Plaintiff’s bad faith claim is barred because Defendant’s conduct was reasonable at

14                 all times, Defendant did not breach the Policy, or any other duty to him, and even if

15                 some breach occurred, Plaintiff did not incur any damages proximately caused by

16                 any such alleged breach.

17           4. Plaintiff’s claim for violation of the CPA is barred because Defendant did not

18                 commit unfair or deceptive act or trade practice, and did not otherwise violate any
19                 of the applicable Washington Administrative Code provisions, and even if some

20                 breach occurred, it did not proximately cause damage to any business or property

21                 interest of Plaintiff.

22           5. Plaintiff’s claim under IFCA is barred because Defendant acted reasonably at all

23                 relevant times, did not unreasonably deny coverage or refuse to pay any benefit

24                 owed under an insurance policy, and even if some wrongful act occurred it did not

25                 proximately cause any damage to Plaintiff compensable under the statute.

             6. Failure to mitigate damages.



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 1            7. Set-off for other payments.

 2                                              III.     ADMITTED FACTS
 3            1. Plaintiff was the driver when his vehicle was struck by Pavielle Montes on April 23,

 4                 2016.

 5            2. Ms. Montes was at fault for the April 23, 2016 accident.

 6            3. Plaintiff was injured in the April 23, 2016 accident.

 7            4. Ms. Montes was insured by Progressive Insurance Company (“Progressive”) at the

 8                 time of the April 23, 2016 accident.

 9            5. The liability limits of Ms. Montes’ policy with Progressive was $25,000.

10            6. Progressive paid $25,000 to Plaintiff for his injuries in the April 23, 2016 accident.

11            7. Plaintiff’s car sustained damage to the rear bumper and spare tire cover.

12            8. The total cost of repairs to Plaintiff’s vehicle was $1,069.31.*

13            9. Plaintiff received $1,069.31 to repair his car from Progressive, and he never made a

14                 claim to Integon for property damage from the accident.*

15            10. Mr. Hopkins incurred $10,931.00 in medical expenses, treating from April 2016

16                 through March 2019.**

17            11. $10,000 of those medical expenses were paid by Defendant under Plaintiff’s

18                 Personal Injury Protection (“PIP”) coverage, which had limits of $10,000.** These
19                 PIP payments covered all of Plaintiff’s medical treatment through July 17, 2018,

20                 and paid $60 toward his appointment at Cascade Dizziness & Balance Therapy

21                 (Cascade) on September 6, 2018.**

22

23   *
      Plaintiff admits these facts, but objects to their admissibility under FRE 402 and 403 (See also Plaintiff’s
24   Motions in Limine regarding damage to the vehicle). Plaintiff is not making a claim for property loss.

25   ** Defendant objects to Plaintiff’s claim for expenses beyond $9,886.00, which were the only disclosed expenses
     by Plaintiff in this lawsuit in his initial disclosures that were never supplemented. Dkt. #16-1, p. 154. Plaintiff
     admitted no additional medical expenses beyond $9,886.00 during his deposition. Dep. at 69:16-71:0. Fed. R.
     Civ. P. 26(a)(1); Fed. R. Civ. P. 37 (“If a party fails to provide information or identify a witness as required by
     Rule 26(a) or (e), the party is not allowed to use that information or witness to supply evidence on a motion, at a
     hearing, or at a trial, unless the failure was substantially justified or is harmless.”)

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 1           12. Plaintiff’s remaining bills beyond the PIP for treatment related to the collision were:

 2                 $90 for the portion of his September 6, 2018 treatment at Cascade that was unpaid

 3                 by PIP and two appointments at Swedish Neuroscience Institute (Swedish), on

 4                 September 11, 2018 ($446) and March 12, 2019 ($395). In total, Plaintiff Mr.

 5                 Hopkins was billed $931 in medical costs beyond his PIP coverage.**

 6           13. Plaintiff was insured by Defendant, and made a claim under the Underinsured

 7                 Motorist (“UIM”) provision of his policy.

 8           14. The UIM coverage in the policy contained limits of $250,000.

 9           15. In a letter dated March 26, 2018, Plaintiff demanded $250,000 in UIM coverage

10                 under the policy.

11           16. Defendant received the March 26, 2018 letter on April 3, 2018.

12           17. In response to Plaintiff’s demand for the policy limits of $250,000, Defendant

13                 offered $17,340.00 on April 24, 2018.

14           18. On April 25, 2018, Plaintiff re-confirmed his demand for $250,000 in UIM

15                 coverage.

16           19. Defendant retained a neurologist Dr. Kutsy to review Plaintiff’s medical records for

17                 the April 23, 2016 accident.

18           20. On August 24, 2018, Defendant received a report from Dr. Kutsy.
19           21. On September 19, 2018, Plaintiff submitted a notice of a lawsuit under the

20                 Insurance Fair Conduct Act (IFCA). Defendant’s claim notes show that the IFCA

21                 notice was received on September 26, 2018.

22           22. On October 1, 2018, Defendant’s claim file notes that it “will increase offer to

23                 $40k.” Mary Gordon, the adjustor working on the case, called Plaintiff’s counsel

24                 and left a message that same day.

25           23. On October 17, 2018, Plaintiff filed this lawsuit, including IFCA claims.




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 1            24. On November 13, 2018, Defendant received a call back from Plaintiff’s counsel.

 2                 Defendant offered Mr. Hopkins’ $40,000 to settle his claim.

 3            25. Plaintiff never offered to settle the UIM claim below $250,000.

 4                                            III.      ISSUES OF LAW1
 5       Plaintiff’s proposed issues of law:
 6            1. The value of the insurance benefits under the UIM portion of the policy.2

 7            2. Whether Defendant is liable for negligence.

 8            3. Whether Defendant is liable for bad faith.3

 9            4. Whether Defendant is in violation of IFCA.4

10            5. Whether Defendant is in violation of the CPA.5

11            6. Whether Plaintiff is entitled to fees and costs under RCW 48.30.015 and/or RCW

12                 19.86.090. 6

13
                                                  IV.      WITNESSES
14
              On behalf of Plaintiff:
15
                 WITNESS                                NATURE OF TESTIMONY                                STATUS
16
     Daniel Hopkins                      Plaintiff Daniel Hopkins will testify concerning Will testify
17   c/o PWRFL                           the collision, his injuries, as well as any facts
     1501 Fourth Ave, Suite              that pertain to the claims at issue in this lawsuit.
18
     2800
19
     1
      Defendant makes a general objection to Plaintiff’s proposed issues of law, as the issues stated are not legal issues
20   but are instead factual. Defendant submits that the proper statement as to the legal issues are addressed in
     Defendant’s proposed jury instructions and verdict form, which has been circulated to Plaintiff’s counsel and will
     be filed with the Court prior to the Court’s deadline.
21
     2
       Defendant objects: The issue here is the amount of damages sustained by Plaintiff in the April 23, 2016
22   accident.

23   3 Defendant objects: The standard is whether Defendant acted in a manner that was unreasonable, frivolous or
     unfounded.
24   4 Defendant objects: The issues are whether Defendant unreasonably denied a claim for coverage or payment of
     benefits, and if so, whether Plaintiff sustained actual damages as a proximate cause of such unreasonable denial of
25   claim of coverage or payment of benefits.
     5 Defendant objects: The issues are not just whether Defendant violated the CPA, but also whether Plaintiff
     sustained damage to ‘business or property” as a result of such violation.
     6 Objection. Award of attorney’s fees and costs is for the Court to decide after trial and is not an issue to decide
     during trial.

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 1               WITNESS                    NATURE OF TESTIMONY                      STATUS
 2   Seattle, WA 98101
     (206) 624-6800
 3   Irene Hopkins               Ms. Hopkins is Mr. Hopkins’ wife and will Will testify
 4   c/o PWRFL                   testify regarding damages.
     1501 Fourth Ave, Suite
 5   2800
     Seattle, WA 98101
 6   (206) 624-6800
     Julia Hopkins               Julia Hopkins is Mr. Hopkins’ daughter and will Will testify
 7   c/o PWRFL                   testify regarding damages.
 8   1501 Fourth Ave, Suite
     2800
 9   Seattle, WA 98101
     (206) 624-6800
10   Sarah Hopkins               Sarah Hopkins is Mr. Hopkins’ daughter and Will testify
     c/o PWRFL                   will testify regarding damages.
11
     1501 Fourth Ave, Suite
12   2800
     Seattle, WA 98101
13   (206) 624-6800
14   Kevin Moore                 Kevin Moore is Mr. Hopkins’ neighbor and may May testify
     7001 Seaview Ave NW         testify regarding damages.
15
     Suite 160-643,
16   Seattle, WA 98117
     (425) 443-2896
17
     Steven Strzelec             Steven Strzelec will testify about claims- Will testify
18   Strzelec Consulting         handling standards nationally and in
     Services                    Washington. He will testify that Integon failed
19   20719 NE 8th St.            to meet minimum industry standards for
     Sammamish, WA 98074         handling UIM claims. He will testify that
20   (206) 427-4322
                                 Integon did not adequately investigate Mr.
21                               Hopkins’ UIM claim and that Integon did not
                                 have adequate support to offer $17,340 in
22                               general damages to Mr. Hopkins. He will
                                 testify that Integon’s offer appears to be based
23
                                 on conjecture and speculation, not a reasonable
24                               investigation.      He will testify that in
                                 determining how the collision and injury has
25                               impacted the insured’s life, a claim handler
                                 needs to determine all of the injuries suffered in
                                 the collision, the pain and suffering caused by
                                 those injuries, and how those injuries and the


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      1               WITNESS                              NATURE OF TESTIMONY                               STATUS
      2                                      collision have impacted the insured’s life and
                                             insured’s ability to lead their normal pre-
      3                                      collision life.
      4                                      Mr. Strzelec will testify that Integon failed to
      5                                      meet its obligation to treat Mr. Hopkins
                                             reasonably. He may also be called to rebut
      6                                      testimony of Defendant’s witnesses.

      7
1.        Carolyn Larkin Taylor,             Dr. Taylor will be called as a witness at trial and Will testify
      8   MD                                 will testify regarding her care and treatment of
      9   Swedish Neuroscience               Mr. Hopkins. Dr. Taylor will testify that Mr.
          Specialists                        Hopkins sustained injuries due to the collision.
     10   5350 Tallman Ave NW,               She will testify as to her diagnosis of and
          Suite 400                          prognosis for Mr. Hopkins. She will testify that
          Seattle, WA 98107
     11
          206-781-6320                       Mr. Hopkin’s care and treatment at Swedish
                                             following the collision was reasonable and
     12                                      necessary. She may also be called to rebut
     13                                      testimony of Defendant’s medical witness and
                                             to testify about the reasonableness and necessity
     14                                      of the medical bills.

2. 15     Lisa Eaton, DPT, OCS               Ms. Eaton will be called as a witness at trial and Will testify
3.        Cascade Dizziness and              will testify regarding her care and treatment of
   16     Balance PT                         Mr. Hopkins following the collision, and the
4. 17     120 Lakeside Ave, Suite            reasonableness of such treatment. She may also
          210                                be called to rebut testimony of Defendant’s
5. 18     Seattle, WA 98122                  witnesses     and to       testify about       the
          206-925-3762                       reasonableness and necessity of the medical
     19                                      bills.
     20
6. 21     Mary Gordon7                       Ms. Gordon was Integon’s claims adjustor on                 Will testify
7.        National General Ins. Co.          the claim.     Her deposition testimony was                 live and
8. 22     St. Louis, MO                      recorded and she lives out of state. Portions of            designated
                                             her deposition may be played in Court.                      portions of
     23                                                                                                  her
                                                                                                         depositions
     24                                                                                                  may be
     25                                                                                                  played.

          7
           Defendant objects to portions of Ms. Gordon’s deposition testimony, and asks that these objections be ruled
          upon prior to trial.


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 1

 2           On behalf of Defendant:
 3                WITNESS                              NATURE OF TESTIMONY                              STATUS
 4   IGIC’s Corporate                     Defendant’s corporate representative may Will testify
     Representative8                      testify regarding the allegations contained in
 5   c/o Eliot M. Harris                  the Complaint filed in this matter, including
     Williams Kastner & Gibbs             but not limited to, the Policy, the Accident,
 6   PLLC
     601 Union Street, Suite 4100         and Defendant’s handling, investigation, and
 7   Seattle, WA 98101                    analysis of Plaintiff’s UIM claim.
     (206) 233-2977
 8   eharris@williamskastner.com
     Mary Gordon                          Ms. Gordon may testify regarding the                     May testify
 9   c/o Eliot M. Harris                  allegations contained in the Complaint filed in          either in
     Williams Kastner & Gibbs             this matter, including but not limited to, the           person or via
10   PLLC                                                                                          video
                                          Policy, the Accident, and Defendant’s
     601 Union Street, Suite 4100                                                                  deposition
11   Seattle, WA 98101                    handling, investigation, and analysis of
     (206) 233-2977                       Plaintiff’s UIM claim.
12   eharris@williamskastner.com
13   Pavielle Montes                      Ms. Montes was a party to the Accident Possible
     2727 NE 125th Street, Apt. 9         giving rise to Plaintiff’s UIM claims. Ms. witness only
14   Seattle, WA 98125                    Montes may testify regarding the Accident.
     (206) 331-9658
15
     Melissa Weakland, MD                 Dr. Weakland is a medical provider who Possible
16   Ballard Neighborhood                 administered treatment to Plaintiff following witness only
     Doctors                              the Accident at issue in this matter. Dr.
17   5416 Barnes Ave NW                   Weakland may testify relating to Plaintiff’s
     Seattle, WA 98107
18   (206) 297-7678                       claims, injuries and treatment.

19   Chris Morrow, PT                     Mr. Morrow is a physical therapist who Possible
     Pacific Balance &                    administered treatment to Plaintiff following witness only
20   Rehabilitation Clinic                the Accident at issue in this matter. Mr.
     400 Mercer Street, Suite 302         Morrow may testify relating to Plaintiff’s
21   Seattle, WA 98109
     (206) 448-1906                       claims, injuries and treatment.
22

23   Julie Grove, MPT                     Ms. Grove is a physical therapist who           Possible
     Cascade Dizziness PT PLLC            administered treatment to Plaintiff following   witness only
24   120 Lakeside Avenue                  the Accident at issue in this matter. Ms. Grove
     Suite 210                            may testify relating to Plaintiff’s claims,
25   Seattle, WA 98122
     (206) 925-3762                       injuries and treatment.

     8
      Plaintiff objects to Integon calling an unnamed and previously undisclosed witness. This violates the discovery
     rules and Defendants’ own agreed motions in limine prohibiting calling undisclosed witnesses and admitting never
     before disclosed evidence. This “representative” – whoever he or she is – should not be permitted to testify.

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 1                WITNESS                     NATURE OF TESTIMONY                    STATUS
 2
     Lisa Eaton, DPT, OCS           Ms. Eaton is a physical therapist who Possible
 3   Cascade Dizziness PT PLLC      administered treatment to Plaintiff following witness only
     120 Lakeside Avenue            the Accident at issue in this matter. Ms. Eaton
 4   Suite 210                      may testify relating to Plaintiff’s claims,
     Seattle, WA 98122
 5   (206) 925-3762                 injuries and treatment.

 6   Bart D. Simons, PT             Mr. Simons is a physical therapist who Possible
     Greenlake Sports Physical      administered treatment to Plaintiff following witness only
 7   Therapy                        the Accident at issue in this matter. Mr.
     408 NE 72nd Street             Simons may testify relating to Plaintiff’s
 8   Seattle, WA 98115
     (206) 524-5115                 claims, injuries and treatment.
 9
     Malorie A. Larson, DPT         Ms. Larson is a physical therapist who Possible
10   Greenlake Sports Physical      administered treatment to Plaintiff following witness only
     Therapy                        the Accident at issue in this matter. Ms.
11   408 NE 72nd Street             Larson may testify relating to Plaintiff’s
     Seattle, WA 98115
12   (206) 524-5115                 claims, injuries and treatment.

13   Jena M. Peterson, ND           Ms. Peterson is a naturopathic practitioner Possible
     Full Circle Natural Medicine   who administered treatment to Plaintiff. Ms. witness only
14   6869 Woodlawn Avenue NE,       Peterson may testify relating to Plaintiff’s
     Suite 208                      claims, injuries and treatment.
15   Seattle, WA 98115
     (206) 535-8867
16      -or-
     Evergreen Center for
17   Integrative Medicine
     2008 NE 65th Street
18   Seattle, WA 98115
     (206) 729-0907
19
     Roman L. Kutsy, MD             Dr. Kutsy is a neurologist and his testimony Will testify
20   c/o Williams, Kastner &        will be based on his education, training, and
     Gibbs, PLLC                    experience, as well as a review of the
21   601 Union St, Ste 4100         pertinent materials in the current case. His
     Seattle, WA 98101
22                                  testimony will also be based on his findings
                                    and opinions provided in his report dated
23                                  August 21, 2018 and his record review
                                    addendum dated September 4, 2019.
24
     William P. Hight               Mr. Hight is an attorney who consults and Will testify
25   c/o Williams, Kastner &        testifies as an expert witness on insurance
     Gibbs, PLLC                    coverage interpretations and good faith
     601 Union St, Ste 4100         handling of property and liability insurance
     Seattle, WA 98101
                                    claims. Mr. Hight’s testimony will be based

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 1                 WITNESS                       NATURE OF TESTIMONY                         STATUS
 2                                     on his education, training, and experience, as
                                       well as a review of the pertinent materials in
 3                                     the current case. His testimony will also be
                                       based on his findings and opinions provided
 4
                                       in his report, dated September 15, 2019.
 5
     Ann Rosato                        Ms. Rosato had phone calls and emails with Will testify
 6   1501 4th Avenue, Suite 2800       Integon during the negotiation of the UIM
     Seattle, WA 98101                 claim at issue.
 7   Ph. (206) 624-6800

 8
                                            V.      EXHIBITS
 9
             Plaintiff’s and Defendant’s list of proposed trial exhibits are listed below. Pursuant
10
     to LCR 16(h)(6) and LCR 16(i)(6), the parties intend to present exhibits to the jury in
11
     electronic format. The admissibility and authenticity of the documents listed below shall be
12
     discussed at the Conference of Attorneys per CR 16(k). Prior to the Conference of Attorneys
13
     pursuant to CR 16(k), however, the parties shall advise each other with a list stating whether,
14
     as to each exhibit, the party will (1) stipulate to admissibility, (2) stipulate to authenticity but
15
     not admissibility, or (3) dispute authenticity and admissibility in compliance with LCR 16(j).
16

17
     No.                   Exhibit                 Stipulated           Authenticity      Authenticity
18                                                Authentic and          Stipulated,         and
                                                   Admissible           Admissibility     Admissibility
19                                                                        Disputed         Disputed
20
                                            Plaintiff’s Exhibits
21
                                                                        FRE 402, 403,
22   1.          Integon claim notes
                                                                              802
                                                                        FRE 402, 403,
23
                                                                         802 (Exhibits
24                                                                       2-4, 2-5, 2-6,
                 Miscellaneous
     2.                                                                 2-7, 2-17, 2-29
                 correspondence
25                                                                      (Rosato email
                                                                         dated May 4,
                                                                            2018))



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 1   No.                   Exhibit                 Stipulated          Authenticity    Authenticity
                                                  Authentic and         Stipulated,       and
 2                                                 Admissible          Admissibility   Admissibility
                                                                         Disputed       Disputed
 3
                                                 X (in compliance
 4                                              with agreed MIL re
     3.          MetroMile policy
                                                permissible portions
 5                                                  of policy)
                 Medical records from
 6   4.          Cascade Dizziness and                   X
 7               Balance
                 Medical records from
 8   5.          Greenlake Sports Physical               X
                 Therapy
 9               Medical records from
     6.                                                  X
                 Swedish Medical Center
10
                 Medical records from
11   7.          Ballard Neighborhood                    X
                 Doctors
12               Medical records from Pacific
     8.                                                  X
                 Balance and Rehabilitation
13               FRE 1006 summary of bills
14   9.          from Cascade Dizziness and                            FRE 402, 403
                 Balance
15               FRE 1006 summary of bills
     10.         from Greenlake Sports                                 FRE 402, 403
16               Physical Therapy
                 FRE 1006 summary of bills
17
     11.         from Swedish Medical                                  FRE 402, 403
18               Center
                 FRE 1006 summary of bills
19   12.         from Ballard Neighborhood                             FRE 402, 403
                 Doctors
20               FRE 1006 summary of bills
21               from Pacific Balance and
     13.                                                               FRE 402, 403
                 Rehabilitation
22
                 FRE 1006 Summary of
23               medical bills from all
     14.                                                               FRE 402, 403
                 providers
24

25               FRE 1006 Summary of
                 medical visits to all
     15.                                                               FRE 402, 403
                 providers

     16.         Photos                                                                FRE 402, 403

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 1   No.                    Exhibit                   Stipulated       Authenticity     Authenticity
                                                     Authentic and      Stipulated,        and
 2                                                    Admissible       Admissibility    Admissibility
                                                                         Disputed        Disputed
 3
                 FRE 1006 Summary of PIP
 4   17.         payments without diagnosis                            FRE 402,403

 5               FRE 1006 Summary of PIP
     18.         payments without diagnosis                            FRE 402, 403
 6

 7               Illustratives
     19.                                                Reserved         Reserved         Reserved
 8

 9                                              Defendant’s Exhibits
10
                 Integon’s Claim Notes for
11               Plaintiff’s claim (INTEGON                            FRE 402, 403,
     200.                                             3080-86 only
                 003080-3452 (minus                                        803
12               redactions))
                 Email to
13               Metromile’s/Integon’s Jo
                                                                       FRE 402, 403,
                 Ann Munoz from Daniel
14                                                                      803, MIL’s
     201.        Hopkins dated April 26,
                                                                         regarding
15               2016, attaching photos of
                                                                       photos of car.
                 Pavielle Montes’ vehicle
16               (INTEGON 000055-58)
                 Letter to Plaintiff from Jo
17               Ann Munoz dated April 27,
18   202.        2016, regarding coverage                  X
                 amounts (INTEGON
19               000030)
                 Letter to Hopkins from
20               Beverly Evans, PIP Claims
                 Rep dated April 28, 2016
21
                 regarding explanation of
22   203.        benefits and enclosing an                 X
                 Application for Benefits and
23               Authorization to Disclose
                 Health Information
24               (INTEGON 000044-49)
25               Letter to Hopkins from Jo
                                                                       FRE 402, 403,
     204.        Ann Munoz dated May 4,
                                                                           803
                 2016 (INTEGON 0000060)



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 1   No.                   Exhibit                 Stipulated         Authenticity      Authenticity
                                                  Authentic and        Stipulated,         and
 2                                                 Admissible         Admissibility     Admissibility
                                                                        Disputed         Disputed
 3
                 Plaintiff application for
 4   205.        benefits (INTEGON 000067-               X
                 69)
 5               Letter from Ann Rosato to Jo
                 Ann Munoz dated July 20,
 6               2016, regarding
 7   206.        representation of Plaintiff             X
                 and request for PIP insurance
 8               documents (INTEGON
                 000178-81)
 9               Letter to Ann Rosato dated
     207.        July 21, 2016 (INTEGON                  X
10
                 000181)
11               Exchange of letters and
                 emails between Veronica
12               Brouse and Plaintiff’s
                 attorneys regarding                                      561-562
13               Plaintiff’s IME scheduled for                           (illegible);
                 July 20, 2017, scheduling                            634-637 (FRE
14
                 conflicts as a result of                             402, 403, and
15               Plaintiff being out of town     549-550, 571, 573,       contains
     208.
                 until September 2017, and             575             inadmissible
16               request by Plaintiff’s                                 reference to
                 attorneys to schedule IME                                   Irene
17               when Plaintiff returns                               Hopkins’ case
18               (INTEGON 000549-550,                                 – agreed MIL)
                 000561-562, 000571,
19               000573-573, 000575,
                 000634-637)
20               Letter from Ann Rosato
                                                                      FRE 402, 403,
     209.        dated November 20, 2017
21                                                                        803
                 (INTEGON 000718-19)
22               Letters to Ann Rosato dated
                                                                      FRE 402, 403,
     210.        November 21, 2017
                                                                          803
23               (INTEGON 000724-25)
                 Email from Fajardo dated
24   211.        February 7, 2018                        X
                 (INTEGON 001001)
25




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 1   No.                    Exhibit                Stipulated     Authenticity    Authenticity
                                                  Authentic and    Stipulated,       and
 2                                                 Admissible     Admissibility   Admissibility
                                                                    Disputed       Disputed
 3
                 Email from Mary Gordon to
 4               Ann Rosato dated February
                 27, 2018, regarding
 5               assignment of Plaintiff’s
     212.        UIM claim to Mary Gordon              X
 6               and request for medical
 7               records and other
                 information (INTEGON
 8               001064)
                 Demand letter from Ann
 9               Rosato to Jo Ann Munoz
     213.                                              X
                 dated March 26, 2018
10               (INTEGON 001217-1221)
11               Email from Mary Gordon to
                 Richard Chodacki dated
12               April 17, 2018 requesting
     214.        authority for initial offer of        X
13               $16,000 with settlement
                 range of $16,000 to $84,000
14
                 (INTEGON 001224-1226)
15               Email to Ann Rosato dated
     215.        April 24, 2018 (INTEGON               X
16               001227-28)
                 Email from Ann Rosato
17   216.        dated April 25, 2018                  X
18               (INTEGON 01233-1234)
                 Email exchange between
19               Ann Rosato and Mary
                 Gordon and Richard
20               Chodacki dated May 4,
                 2018, May 1, 2018, April 25,
21
                 2018, and April 24, 2018
     217.                                              X
22               regarding Integon’s initial
                 offer, Cascade Dizziness
23               medical record, continuation
                 of negotiation, and securing
24               independent medical review
                 (INTEGON 001252-1253)
25




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                                                    Authentic and        Stipulated,        and
 2                                                   Admissible         Admissibility    Admissibility
                                                                          Disputed        Disputed
 3
                 Email exchange between
 4               Mary Gordon to Cliff Wilson
                 (SmithFreed) dated June 21,
 5   218.        2018 and June 20, 2018                   X
                 regarding request to locate
 6               expert for dizziness/vertigo
 7               issue (INTEGON 001249)
                 Email from Ann Rosato
 8               dated June 22 and June 28,
     219.                                                 X
                 2018 (INTEGON 001355-
 9               57)
                 Email exchange between
10
                 Mary Gordon and Cliff
11               Wilson dated July 3, 2018
                 and July 11, 2018 regarding      1289-91 and 1347-50   1321-54 (FRE
     220.
12               request to locate neurologist           only           402, 403, 803)
                 or neuropsychologist
13               (INTEGON 001289-1291,
                 001347-1354)
14
                 Email exchange between
15               Ann Rosato and Mary
                                                                              X
                 Gordon dated July 27, 2018
     221.                                                               Duplicative of
16               to July 31, 2018, regarding
                                                                          Ex. 219
                 status of locating neurologist
17               (INTEGON 001355-1357)
18               Email from Jessica
                 Studebaker to Mary Gordon
19               dated August 1, 2018                                   FRE 402, 403,
     222.
                 regarding request for records                              803
20               review by Dr. Kutsy
                 (INTEGON 002878)
21
                 Assignment letter from Mary
22               Gordon to Dr. Kutsy dated
                 August 9, 2018 regarding
23               request for records review                             FRE 402, 403,
     223.
                 and attaching medical                                      803
24               records and additional
                 information (INTEGON
25
                 002898)




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 1   No.                   Exhibit                  Stipulated          Authenticity      Authenticity
                                                   Authentic and         Stipulated,         and
 2                                                  Admissible          Admissibility     Admissibility
                                                                          Disputed         Disputed
 3
                 Email exchange between
 4               Mary Gordon and Ann
                 Rosato dated August 21,
 5               2018 regarding completion
     224.                                                 X
                 of records review and
 6               waiting for completion of
 7               report (INTEGON 001582-
                 1583)
 8               Email from Jessica
                 Studebaker to Mary Gordon
 9               dated August 24, 2018                                  FRE 402, 403,
     225.
                 attaching Dr. Kutsy’s report,                              803
10               CV, W9, and invoice
11               (INTEGON 001584-1601)
                 Email from Mary Gordon to
12               Ann Rosato dated November
                 15, 2018 regarding
13   226.                                                 X
                 confirmation of $40,000 to
                 settle UIM claim (INTEGON
14
                 003071)
15               Transcript of the Recorded                             FRE 402, 403,
                 Statement made by Jo Ann                               803; discovery
     227.
16               Munoz to Progressive                                   violation – not
                 Claims dated April 25, 2016                               disclosed
17               Email from Jessica
18               Studebaker (Fry
                 Management) to Mary
19               Gordon dated August 3,                                 FRE 402, 403,
     228.
                 2018 regarding record                                      803
20               review with Dr. Roman
                 Kutsy (INTEGON 001360-
21               1366)
22               Letter from Ann Rosato to
                 Insurance Commissioner &
                                                  X (but Defendant
23               Integon dated September 19,
     229.                                        should use a legible
                 2018 regarding notice to
24                                                      copy)
                 Integon of lawsuit
                 (INTEGON 001624)
25




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 1   No.                   Exhibit                 Stipulated          Authenticity Authenticity
                                                  Authentic and         Stipulated,     and
 2                                                 Admissible         Admissibility Admissibility
                                                                          Disputed    Disputed
 3
                                                                       This is 800+
 4                                                                         pages of
                 Medical records from the                                  medical
 5   230.        University of Washington                              records from
                 Medical Center                                       2011 collision;
 6                                                                    FRE 402, 403,
 7                                                                           803
                                                                       BND 0-4, 8-
 8                                                                    11, 13-16, 20-
                                                 BND 6-7, 12, 17-19, 21, 24-27, 32-
 9                                               22-23, 28-31, 36-38,     35, 39-40
                                                  41-72 (with health     (FRE 402,
10               Medical records from
                                                       insurance      403, collateral
     231.        Ballard Neighborhood
11                                              information/payments    source rule,
                 Doctors
                                                 redacted pursuant to   agreed MIL
12                                              agreed MIL regarding      regarding
                                                   collateral source)       health
13                                                                        insurance
                                                                         payments)
14
                                                 As to: CDB 2-77-82
15                                                   (with health
                 Medical records from                  insurance
16   232.        Cascade Dizziness &            information/payments      CDB 0-1
                 Balance Physical Therapy        redacted pursuant to
17                                              agreed MIL regarding
                                                   collateral source)
18
                                                                      as to: SMG 0,
19                                                                      7, 8, 23-36
                                                                         (FRE 402,
20                                                                    403, collateral
                                                                        source rule,
21               Medical records from
     233.                                          As to: SMG 9-22      agreed MIL
                 Swedish Medical Center
22                                                                        regarding
                                                                            health
23                                                                        insurance
                                                                         coverage/
24                                                                       payments)
                 Medical records from Pacific
25   234.                                               X
                 Balance and Rehabilitation




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                                                   Authentic and    Stipulated,         and
 2                                                  Admissible     Admissibility     Admissibility
                                                                      Disputed        Disputed
 3
                                                                   GSP 0-1, 27-
 4                                                                 32, 34, 36-73
                                                                     (FRE 402,
 5                                                                 403, collateral
                 Medical records from
                                                                    source rule,
 6   235.        Greenlake Sports Physical         GSP 2-26, 33
                                                                    agreed MIL
                 Therapy
 7                                                                    regarding
                                                                        health
 8                                                                    insurance
                                                                     payments)
 9               Progressive Direct
                                                                   FRE 402, 403,
     236.        Insurance’s vehicle repair
10                                                                     803
                 estimate dated May 31, 2016
11               Washington State Patrol’s
                                                                   FRE 402, 403,
     237.        Vehicle Collision Report
                                                                       803
12               (Report No. M0008582)
                 Photos of Plaintiff’s and
13               Pavielle Montes’ vehicles                         FRE 402, 403
     238.
                 after the accident                                 and MILs
14
                 (INTEGON 001371-1390)
15                                                                 FRE 402, 403
     239.        Other photos of accident
                                                                    and MILS
16               Plaintiff’s Initial Disclosures                   FRE 403, 403,
     240.
                 filed in this action                                  802
17               Plaintiff’s Discovery                             FRE 402, 403,
     241.
18               Responses in this lawsuit                             802
                 Expert report of Dr. Roman
19               Kutsy, MD dated August 21,                        FRE 402, 403,
     242.
                 2018 (INTEGON 001592-                                 802
20               001601)
                 Addendum to expert report
21
                 of Dr. Roman Kutsy, MD
22               dated September 4, 2019                           FRE 402, 403,
     243.
                 regarding records review of                           802
23               Plaintiff’s August 2011
                 motor vehicle accident
24               Expert report of William
                                                                   FRE 402, 403,
25   244.        Hight dated September 15,
                                                                       802
                 2019
                 Declaration of Pavielle                           FRE 403, 403,
     245.
                 Montes                                                802


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 1   No.                    Exhibit                 Stipulated     Authenticity     Authenticity
                                                   Authentic and    Stipulated,        and
 2                                                  Admissible     Admissibility    Admissibility
                                                                     Disputed        Disputed
 3
                 Deposition transcript of
                                                                   FRE 402, 403,
 4   246.        Plaintiff Daniel Hopkins
                                                                       802
                 taken April 30, 2019
 5               Deposition transcript of
                                                                   FRE 402, 403,
     247.        Stephen Strzelec taken
 6                                                                     802
                 September 23, 2019
 7               Deposition transcript of Dr.
                                                                   FRE 402, 403,
     248.        Carolyn Taylor taken August
                                                                       802
 8               27, 2019
                 Deposition transcript of Dr.
 9                                                                 FRE 402, 403,
     249.        Roman Kutsy taken October
                                                                     703, 802
                 3, 2019
10
                 Deposition transcript of
                                                                   FRE 402, 403,
11   250.        William Hight taken October
                                                                     703, 802
                 1, 2019
12               Plaintiff settlement                              FRE 402, 403,
     251.
                 agreement in Hyland lawsuit                       404, 408, 802
13               Plaintiff discovery responses                     FRE 402, 403,
     252.
14               in Hyland lawsuit                                    404, 802
                                                                   FRE 402, 402,
     253.        Hyland pleadings
15                                                                    404, 802
                                                                   FRE 402, 403,
16               Preliminary Estimates to                             802, MIL
     254.
                 repair Plaintiff’s vehicle                           regarding
17
                                                                   damage to car
18                                                                 These are Mrs.
                                                                       Hopkins
19                                                                     medical
                 Out of pocket expenses
     255.                                                          records. FRE
20               documents
                                                                   402, 403, 802,
21                                                                 MIL regarding
                                                                   Irene Hopkins
22               Photos of vehicle disclosed
                                                                   FRE 402, 403,
     256.        by Plaintiff in discovery in
23                                                                    MILs
                 this lawsuit
     257.        Illustratives                       Reserved        Reserved         Reserved
24

25
                                    VI.       DEPOSITION DESIGNATIONS
           Plaintiff offers the following portions of the deposition of Mary Gordon, dated
     May 10, 2019, at trial:

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 1
     1.       Page 6, lines 15-16                               12.      Page 34, line 18 to page 41, line 23
 2
     2.       Page 6, line 22 to page 7, line 15                13.      Page 42, lines 7-22
 3
     3.       Page 7, line 23 to page 8, line 5                 14.      Page 42, line 24 to page 43, line 2
 4
     4.       Page 11, line 11 to page 13, line 3               15.      Page 43, line 13 to page 44, line 8
 5
     5.       Page 13, line 22 to page 16, line 17              16.      Page 44, line 10 to page 45, line 2
 6
     6.       Page 17, line 24 to page 18, line 13              17.      Page 45, line 24 to page 46, line 22
 7
     7.       Page 19, line 21 to page 21, line 20              18.      Page 47, lines 14-16
 8
     8.       Page 21, line 25 to page 22, line 19              19.      Page 48, line 1 to page 52, line 17
 9
     9.       Page 24, lines 9-15                               20.      Page 54, line 15 to page 55, line 24
10
     10.      Page 24, line 21 to page 25, line 1               21.      Page 57, line 18 to page 65, line 1
11
     11.      Page 33, line 23 to page 34, line 10              22.      Page 69, line 3 to page 70, line 1
12
          Plaintiff offers the following counter-designations of the deposition of Mary
13   Gordon, dated May 10, 2019, at trial:
14
           A. Page 24, lines 3-8
15
           B. Page 24, lines 16-20
16
           C. Page 57, lines 13-179
17

18   A highlighted copy of the deposition transcript accompanies this statement.

19         Defendant offers the following portions of the deposition of Mary Gordon dated
     May 10, 2019, at trial:
20

21            1.       Page 10, line 2 to page 11, line 10

22            2.       Page 13 lines 4-21

23            3.       Page 16, line 18 to page 17, line 22

24            4.       Page 18, lines 14-23

25            5.       Page 22, line 20 to page 24, line 2


     9
      This designation is conditional upon the Court’s ruling on Plaintiff’s objections to certain testimony designated
     by Defendant.

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 1              6.       Page 41, line 24 to page 42, line 6

 2              7.       Page 43, lines 3-12

 3              8.       Page 45, line 3-15 (waive objection)

 4              9.       Page 46, line 23 to page 47, line 7

 5              10.      Page 52, line 18 to page 54, line 4

 6              11.      Page 55, line 25 to page 57, line 1210

 7              12.      Page 65, line 6-20

 8              13.      Page 66, line 15 to page 67, line 10

 9
     A highlighted copy of the deposition transcript accompanies this statement.
10
                                        VII.     RESERVATION OF RIGHTS
11

12              Defendant reserves all objections as noted during Ms. Gordon’s deposition. Defendant

13   also reserves the right to call at trial any witnesses identified by Plaintiff and/or witnesses who

14   have been disclosed during deposition or discovery. Defendant reserves the right to amend this

15   statement at any time up to and including the time of trial. Defendant reserves the right to use

16   photos, anatomic diagrams, maps, models, timelines, summary charts, demonstrative exhibits,

17   and other documents at trial. Defendant reserves the right to use as exhibits any of the exhibits

18   identified in Plaintiff’s exhibit lists.            Defendant reserve the right to use any deposition

19   transcripts disclosed by Plaintiff. Defendant reserves the right to offer any exhibit or document

20   necessary to present its case at trial

21
                                               ACTION BY THE COURT
22
                (a) This case is scheduled for trial before a jury on October 5, 2020 at 9:00 am.
23
                (b) Trial briefs shall be submitted to the Court on or before April 28, 2020.
24
                (c) Jury instructions requested by either party shall be submitted to the Court on or
25
                      before April 28, 2020.


     10
          Plaintiff’s object to this testimony under FRE 402 and 403 and Plaintiff’s Motion in Limine No. 13.

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 1           (d) Suggested questions of either party to be asked of the jury by the Court on voir dire

 2               shall be submitted to the Court on or before April 28, 2020.

 3           This order has been approved by the parties as evidenced by the signatures of their

 4   counsel. This order shall control the subsequent course of the action unless modified by a

 5   subsequent order. This order shall not be amended except by order of the court pursuant to

 6   agreement of the parties or to prevent manifest injustice.

 7           DATED this 2nd day of October, 2020.

 8
                                                          _________________________________
 9                                                        Honorable Marsha Pechman
                                                          United States District Judge
10

11    PETERSON | WAMPOLD                              WILLIAMS, KASTNER & GIBBS
      ROSATO | FELDMAN | LUNA
12
                                                       /s/Eliot M. Harris
13    /s/Michael S. Wampold                           Eliot M. Harris, WSBA No. 36590
      Michael S. Wampold, WSBA No. 26053              Christine J. Lee, WSBA No. 43231
14    Tomás A. Gahan, WSBA No. 32779
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16    Ph. (206) 624-6800
      wampold@pwrfl-law.com                           Email: eharris@williamskastner.com
17    gahan@pwrfl-law.com                                    clee@williamskastner.com
18                                                    Attorneys for Defendant Integon General
                                                      Insurance Corporation
19

20

21

22

23

24

25




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                Gordon, Mary M.
                          5/10/2019



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                                                  Page 5                                                       Page 7
 1               IT IS HEREBY STIPULATED AND                1   in St. Louis, Missouri; is that correct?
 2 AGREED by and between counsel for the Plaintiff and      2      A.    That's correct.
 3 counsel for the Defendant that this deposition may       3      Q.     Is that where you live?
 4 be taken by Susan J. Pybas, CCR, No. 1446(T), a          4      A.    Yes.
 5 Certified Court Reporter, thereafter transcribed         5      Q.,   And also where you work from?
 6 into typewriting, with the signature of the witness      6      A.    Yes.
 7 being expressly reserved.                                7      Q.    Okay. Have you been deposed before?
 8           VIDEOGRAPHER: We're on the record.             8      A.    Yes.
 9 Today's date is May 10th, 2019, and the time is          9      Q.    How many times?
10 approximately 12:04 p.m.                                10     A. I don't know exactly. At least four or
11           This is the videorecorded deposition          11 five.
12 of Mary Gordon in the matter of Daniel Hopkins vs.      12     Q. Can you just generally tell me sort of the
13 Integon General Insurance Corporation, Case No.218      13 circumstances under which you have been deposej:
14 CV 01723 in the United States District Court,           14 before?
15 Western District of Washington and Seattle. This        15     A. Other claims.
16 deposition is being held at Alaris Litigation           16      Q.    Okay. Has it all - have all the
17 Services in St. Louis, Missouri.                        17 depositions been during your employment with the
18           The reporter's name is Sue Pybas. My          18 company you currently work for?
19 name is John Niehaus. I'm a legal videographer. We      19    A. No. I've had -
20 are here on behalf of Seattle Deposition Reporters.     20      Q.    Okay.
21           Will Counsel please introduce                 21      A.    - depositions for my former employer as
22 yourself for the record.                                22 well.
23           MR. HARRIS: Eliot Harris -                    23     Q., Okay. And we'll get to your employment
24           MS. ROSATO: Ann Rosato.                       24 background in just a moment, but let me ask you
25           Oh, go ahead, Eliot.                          25 this:
                                                  Page 6                                                       PageS
 1            MR. HARRIS: Sorry. Go ahead, Ann.             1         Have any of those four or five depositions
 2            MS. ROSATO: Ann Rosatoforthe                  2 that you've given in the past been related to claims
 3 plaintiff.                                               3 when there's an allegation by the insurance company
 4            MR. HARRIS: Eliot Harris for the              4 of failure to act in good faith?
 5 defendant.                                               5     A. Yes.

 6            VIDEOGRAPHER: Will you please swear           6     Q.   Okay. How many of those four or five have
 7 in the witness?                                          7 had those claims alleged?
 8                MARY GORDON,                              8     A.  Just one that I can remember.
 9 of lawful age, having been produced, sworn, and          9     Q.   Do you remember how long ago you gave that
10 examined on the part of the Plaintiffs,                 10 particular deposition?
11 testified as follows:                                   11     A. That one was within the past year.

12       (Start time of deposition: 12:04 p.m.)            12     Q.   Okay. The deposition was?
13                EXAMINATION                              13     A. Yes.

14 BY MS. ROSATO:                                          14     Q.   Did you work for Integon at the time of
15     Q. Good afternoon, Ms. Gordon.                      15 that deposition?
16     A. Good afternoon.                                  16     A.  I worked for National General. I'm not
17     Q. Can you hear me okay? I know we're remote        17 sure which underwriting company it was.
18 so it can be a little difficult.                        18     Q. All right. And you said that that

19     A. Yes, I can hear you fine. Can you hear me        19 particular deposition involved allegations of bad
20 all right?                                              20 faith. Was your claims adjusting at issue in that
21     Q. lean. You're very clear. Thank you.              21 case?
22         Could you please state and spell your last      22     A.  No.

23 name for the record?                                    23     Q.   Is - tell me the role you played in that
24     A. Mary Gordon, G-o-r-d-o-n.                        24 case; why you were deposed.
25     Q. And, Ms. Gordon, you right now are located       25     A.  I was the adjuster who took over handling

[5/10/2019] Gordon, Mary M.                                                                                Pages 5 - 8
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                                                           Page 9                                                             Page 11
  1   of the claim after a demand was already made.                 .1) (A. 1983.)
 2       Q. Do you know the name of the claimant in                 2 i i Q. And what year did you get your MBA?)
 3 that case?                                                        3)   :A. '92.)
 4       A. It was - the last name was Wunderlich.                  ;4 ) (Q. Okay. So then you mentioned, after)
 5       Q. Wunderlich?                                              5 getting your bachelor's degree in business)
 6       A. I don't - I think - I'm not sure about                   6 administration, that you started - did you say i
 7    the first name. Jeffrey, maybe.                               '7 working in claims?)

 8       Q. Do you know where that case was filed?                   8     A. I did, I - I started working in claims, i
 9       A. Jackson County.                                          9 After I started working in claims is when I earned
10       Q. What state?                                   10             my associate's in claims.)
11       A. Missouri. Sorry.                              11                Q. Okay. Tell me first what was the first
12        Q. That's okay.                                 12             company you worked for?
13           Is that case still ongoing, or has it been   13                A. I first worked for CF Knight Drug Company
14    resolved, if you know?                              14             after I graduated from college, and then I started
15        A. It's been resolved.                          15             working for Crum & Forster personal insurance.
16        Q. Great. So I'm going to assume, since         16                Q. Okay.
17    you've been deposed four or five times, that you    17                A. And then went to Progressive Insurance anq
18    know the way this process works and that I don't    18             then National General.
19    need to go over that with you.                      19                Q. What year did you get your associate in
20           If you need a break at any time, feel free   20             claims?
21    to take one. Just let me know when you're ready tc 21                 A. I'm not really sure. It was in the late
22    do that. I do not take lengthy depositions so       22             '80s or maybe '90.
23    you're not going to be there for several hours. I   23                Q. When you started working at - I think you
24    would expect an hour and a half to two at the most. 24             said Crum & Forster? Do I have that right?
25        A. Okay. Thank you.                             25                A. Yes.

                                                          Page 10                                                             Page 12
 1       Q. You're welcome.                                          1      Q. Tell me what you were doing there.
 2          Give me, if you would, beginning just with'              2      A. I was handling claims there as well.
 3    your education, a brief sort of sketch of your'                3      Q. What kind of claims?
 .4   educational background beginning with high school              4      A. Homeowner and auto claims.
 5 and where you graduated from, i                                   5      Q. And generally give me the basic years that
 6      A. I graduated from Mary Institute. It is a                  6   you worked at Crum & Forster.
 7 school in St. Louis, I went to Mizzou, which is                   7      A. That was from 1 985 to 1990.
 8 University of Missouri in Columbia, for one year,                 8      Q. Did you ever handle any claims in
 9 and then I transferred to the University of Missouri)             9   Washington when you located - or when you worked at
10 in St. Louis. Graduated from there with a i                      10   Crum & Forster?
11 bachelor's degree in business administration. '                  11      A. I don't remember. I know I handled
12 ' Then I - after I started working in'                           12   multiple states, but I don't believe Washington. I
13 claims, I received an associate in claims and then I             13   don't think there were any coastal states, or at
14 started work on a master's and earned my MBA from )              14   least not West Coast states. It's a long time ago,
15 Webster University here in St. Louis, i                          15   so I don't remember.
16      Q. And what university did you say? •                       16      Q. Did - sure. I understand.
17      A. Webster.)                                                17         When did you start working at Progressive?
18      Q. The MBA? i                                               18      A. In 1990.
19 ) ;A. The MBA, Webster, i                                        19      Q. How long did you work there?
20      Q. Webster, j                                               20      A. Almost 25 years.
21 ) And I'm just going to back up. What year '                     21      Q. And where were you located when you worked
22 did you graduate from high school?                               22   at Progressive?
23     .A. 1979.)                                                   23      A. Here in St. Louis.
24      Q, And then what year did you get your                      24      Q. What kind of claims did you work on?
25 bachelor's degree in business administration?                    25      A. I had mobile home claims and auto claims

[5/10/2019] Gordon, Mary M.                                                                                           Pages 9-12
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                                                   Page 13                                                          Page 15
  1   and commercial auto claims.                            1    companies. So Integon is one of the National
  2       Q. Why did you leave Progressive?                  2    General underwriting companies.
  3       A. I was solicited by National General.            3          Does that help?
  4       Q. Okay. What was your job title at)               4       Q. Yes.

  5   Progressive when you left?!                            5         When did National General purchase
  6       A. I was a claims specialist lead.'                6    Metromile, if you know?
  7       Q. As a claims specialist lead, were you i         7      A. I don't know.
 8    still day-to-day adjusting your own claims, or were'| 8 Q. Does the name Metromile, does that company
 9    you supervising other adjusters?                       9
                                                          still exist and do business?
10        A. Yeah, I was strictly handling claims. I;       10A. As far as I know, National General
11    did not have any supervisory capacity. It was just' 11
                                                          purchased it. That all happened before I started
12    a job title.'                                         12
                                                          working there, so I really don't know -
13        Q. Okay. And did you have an authority level i| 13  Q. Okay.
14    at Progressive as a claims specialist lead?'         14 A. - how that all transpired. I think that
15        A. I did. I don't recall what that was. i         15
                                                          they - they no longer exist, except for with
16        Q. Do you know if it was over $100,000? i         16
                                                          National General, but I can't say for sure.
17        A. It was not. i                                 17 Q. Okay. Your employer, is that National
18        Q. Okay. So your authority level at               18
                                                          General?
19 Progressive, even after 25 years, was still $100,00019     A. Yes.

20  or under?'                                         20     Q. That's who writes your paychecks?
21 ] A.  Yes.'                                         21     A. Yes.

22     Q. Okay. When you were at Progressive for       22     Q. Okay. When you were hired at National
23 those 25 years - so until about 2015; is that       23 General in April of 201 5, what was your job title?
24 right?                                                    24     A. Large loss adjuster.
25       A. Yes.                                             25      Q. And describe for me generally - well, let

                                                   Page 14                                                          Page 16
  1      Q. Okay. Did you handle Washington claims?           1 me ask you this first. Is that still your job title
  2      A. No, strictly Missouri claims.                     2 today?
  3     Q. Okay. Is it fair to say that by 2015,              3    A. Yes.
 4    when you left Progressive and went to National          4    Q. Has there been any change? Have you -
 5    General, you had handled very few and maybe no          5 have you had different jobs since you've been at
 6    Washington State claims at that point in time?          6 National General? Has that been the consistent jotj
 7             MR. HARRIS: Object to the form.                7 the whole time you've been there?
 8             You can answer.                                8    A. That's been the job since I've been there.
 9       A. Yes.                                              9    Q. Okay. Tell me just generally, as a large
10    BY MS. ROSATO:                                         10 loss adjuster, what your job duties are.
11       Q. And then do you - do you remember                11    A. I handle and pay claims.
12    generally when you started at National General, like12         Q. Okay. What types of claims?
13    the month?                                           13       A. Casualty claims for personal and
14       A. April.                                           14   commercial auto. I think I've had one liability
15       Q. 2015?                                            15 claim for homeowners.
16       A. Yes.                                             16     Q. So the vast majority of your work, it
17        Q. Could you explain to me because I don't         17 sounds like, is in auto collision claims?
18    understand it the - I've seen paperwork for this       18 ) ^A. Yes.i
19    claim that says Metromile, National General, and       19 ' Q. Okay. Do you have an authority level at
20 Integon.                                                  20 National General?'
21       Can you explain to me the relationship              21 1 /A. Yes.'
22 between those three companies?                            22 1 'Q, What is that?
23    A. National General purchased other                    23 ) A. 75,000.)
24 companies. Metromile was one of them, and they            24    ; Q. Has that changed since you've been there,
25 converted those to National General underwriting          25 or has that been the same authority level the whole|
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 :1 time you've been there?)                                      1      A. No, he is not.
 '2 ) (A. Same authority level. It's tied to the'                 2      Q. Do you know where he is now?
  3 title to the job. i                                           3      A. I know he's living in Michigan, but other
  4    iQ. Okay. Tell me - well, let me ask you)                  4   than that, I don't know.
 :5 this: Before the Hopkins claim, while working at              5      Q. Do you know why he left National General?
 ;6 National General, had you ever handled another claim          6      A. I believe it wasn't a good fit for him.
 i.7   in Washington?'                                            7      Q. Do you know if he's still working, or did
 8 ' A. Yes.                                                      8   he retire?
 9     Q. How many do you think you handled in there              9      A. I believe he's - he's still working or
10 - how long have you been there now, almost - is it.           10 intends to still work if he's not.
11 five years? Is that -i                                        11    Q. Okay. You said that there is a criteria
12    'A. Four, four years.                                      12 for claims that go to the large loss unit, and I
13     Q. Four years.'                                           13 think you said you don't know exactly what those
14         How many Washington claims do you think               14   are.

15 you handled in those four years?                              15          Do you know generally what some of the
16     A. I really don't know. Not many. Maybe a'                16 criteria are?
17  handful. '•                                                  17     A. Some of them if they - they're based on
18    i Q. Less than ten?                                        18 the description of the injury. They are based on
19    A. Probably.                                               19   what the reserve might be, complex - complex
20     Q. And Mr. Hopkins' claim would be one of                 20 liability coverage, things like that.
21 those ten?                                                    21     Q. How many adjusters are in the large loss
22    iA. Yes.                                                   22 unit at National General?
23     Q. Or less? Okay.                                         23     A. There are nine or ten.
24         Tell me what the large loss unit at                   24      Q. Who is Christina May?
25 National General is.                                          25      A. She's another employee at National
                                                       Page 18                                                         Page 20
  1      A. I'm not sure what you're looking for.                 1 General. I don't know what she does.
  2 It's a group of adjusters that handle casualty                2    Q. Do - do you know her title?
  3 claims.                                                       3    A. No. I'm a remote employee, so I really
  4      Q. Okay. By titling it the "large loss                   4 don't know, you know, the other adjusters who worl
  5 unit," what types of claims go to those adjusters?            5 at National General.
  6      A. They're the ones that are more significant            6      Q. Okay. I mean do you know anything about
  7 or - there's a criteria for claims that come over.            7   her, like, what her authority level is, if she's
  8 There's a triage criteria that I - I can't remember           8   above you, below you?
  9 all of the criteria.                                          9      A. 1-1 really don't know. I believe she's
 10          Our managers will talk to the other                 10   another adjuster. That's all I - I know. She
 11 managers and - and accept claims in on transfer or,          11   might be in the - injury handler. I'm not sure.
 12 you know, serious claims will get first notice of            12       Q. Okay. So when you took over the Hopkins
 13 loss, like fatalities, things like that.                     13   claim, did you see any of the claim diary entries
 14 ' ' Q. Who is your manager?                                  14   that Christina May had made before you took over''
 15      A. My manager right now is Jennifer Currie.             15      A. I don't typically look at the diaries that
 16      Q. Do you know how to spell the last name?              16   other people set when I look at a claim, so probable
 17      A. I do. C-u-r-r-i-e.                                   17   not.
 18 i Q. Okay. Has Jennifer been your manager all                18     Q. Why don't you typically do that?
 19 four years, or have you had other managers?'                 19     A. It's not something that I typically use in
20 ' 'A. I've had other managers.'                               20   my investigation of a claim.
21 ) Q. Do you remember who your manager was when                21      Q. Okay.
22 this claim was assigned to you?)                              22      A. I'll look at the claim notes and things
23       A. It was Richard Chodaki.                              23   like that, but the diaries really don't necessarily
24       Q. Okay. Where has - is he still at                     24   mean anything.
25 National General?                                             25      Q. Okay. Did you look at any of Christina

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                                                          Page 2                                                           Page 23
 1    May's claim notes when you took over Mr. Hopkins'              1 ) A. In handling of the claims and working with'
 2    claim?                                                         2 defense counsel, we also have a toolkit tool that'
 3       A. I read all the claim notes when I took                   3 will allow us to look at different, you know,'
 4    over handling, so I'm sure I did. If she - if she              4 factors in Washington like the - the negligence'
 5    had a note in there, I would have read it.                     5 laws and things like that. So it's more of a;
 6       Q. Okay. Tell me how you're distinguishing                  6 self-study and on-the-job working with - with i
 7    claim notes versus diary notes, because it seems               7 others to understand the workings of the law and - •
 8    that you made a distinction there.                             8 and requirements in Washington.'
 9       A. I think that the way the notes come to                   9 i i Q. What's the toolkit you're talking about?
10    you, everything is printed out. There is a - I                10 ) A. It's - it just complies information of, ^
11    think a note in there that says, you know,                     1 like I said, about, you know, comparative fault and
12    "Christina May changed the diary" or something like            2 things like that. •
13    that. I don't necessarily - I don't read those                 3      Q. What do you - what's compiling? You said
14    because they really have no meaning as far as the              4 "it compiles." Are we talking about a computer
15    investigation of the claim goes.                               5 program or -.
16           Does that make sense? Is that what you -               16 ' ' A. Yes, it's a - it's a computer site that
17       Q. Well, any substantive notes that Christina               7 has information on state information. i
18    May would have made about the claim, would you have            8      Q. And is that something you can access from
19    reviewed those notes?                                          9 your computer at National General?
20       A. Yes.                                                    !0 1   A. Yes.'

21       Q. Okay. And for you, they don't appear                    !1      Q. Okay. You said it compiles Washington
22    printed.                                                      !2 law, and you gave examples of comparative negligence'
23           Do they appear just on a computer screen?              !3 and negligence.
24       A. Yes.                                                    !4         Does it also have Washington law for you
25       Q. Okay. Did you get any training at                       !5 on fair claims handling practices in the state of
                                                          Page 2;                                                          Page 24
 1  National General regarding Washington State law                 1 Washington?'
 2  statutory law or administrative code about handlin              2     A. Yes.

 3  claims in the state of Washington?                              3     Q. Have you ever reviewed, in the toolkit
 4     A. I did not receive any formal training in                  4 you're describing that you can access at National
 5  Washington.                                                     5 General on your computer, Washington laws regarding
  6    Q. Did - did National General - you said                     6 fair claims handling?
  7 you didn't get any formal training in Washington.               7     A. I don't know if I accessed it from toolkit
  8   want to make sure you understand my question.                 8 or not, so I can't say.
  9          Did National General provide to you any                9     Q. Do you know if you've ever accessed
10    training about handling claims in Washington Stati            0 Washington fair claims handling statutes and
11    and complying with Washington law?                            1 administrative code regulations at all?
12       A. No.                                                     2     A. On the computer, I'm not sure if I have.
13       Q. Have you had any training in your career                3 I don't recall. I know I've seen it in writing
14    as an insurance adjuster regarding handling claim             4 before. I don't recall if I have researched that on
15    in Washington and Washington statutes and                     5 the computer or not.
16    administrative code regulations that apply to                 6     Q. Okay. Where have you seen it in writing?
17    insurance claims?                                             7     A. I had it - you know, 1 don't - I'm not
18       A. I haven't received any formal training in               8 - I can't really even remember. I think I may have
19    those areas, no.                                              9 reviewed it in - I'm not sure. I'm sorry. I don't
20        Q. Okay. So you say "no formal training,";                :0   remember.
21    which leads me to think you had some type of)                 ;1      Q. Do you know if before you were assigned
22    training.'                                                    ;2   Mr. Napkins' claim, you had ever reviewed either on
23      ; So describe for me what kind of training,'                ;3   paper, on a computer, Washington law regarding fair
24 formal or otherwise, that you've had for adjusting i             ;4   claims handling practices in the state of
25 claims in Washington.;                                           :5   Washington?

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 1    A. I don't remember if I have or not.                       1 of that nature affects my bonus at all.
 2    Q. Okay. Do you feel like, sitting here                     2     Q. Okay. Thanks.
 3 today, you're familiar with Washington regulations             3        I'm going to ask you - I'm going to
 4 regarding fair claims handling practices in the                4 follow up on the topic I just ended with, and I'm
 5 state of Washington?                                           5 going to ask you about a few Washington regulations,
 6            MR. HARRIS: Object to the form.                     6 and let me know - I'll ask you questions as I go.
 7            You can answer.                                     7        Do you understand that in Washington,
 8    A. Okay. I'm - I'm familiar with them                       8 there is a statute that requires an insurance
 9 generally. I could not cite them or tell you any               9 adjuster to acknowledge and act reasonably promptly
10 specifics.                                                    10 upon claim communications?
11 BY MS. ROSATO:                                                11     A. Yes.

12    Q. If I went over some of those regulations                12     Q. Okay. Did - do you know that in
13 with you, could you tell me, yes, that is a                   13 Washington you have to respond to claim
14 Washington regulation or not?                                 14 communications within ten days?
15    A. Maybe.                                                  15            MR. HARRIS: Object to the form.
16    Q. Okay. Tell me how you are compensated by                16     A. Would you repeat that, please?
17 National General.                                             17 BY MS. ROSATO:
18    A. I get a paycheck. I'm not sure what                     18     Q. Sure. Do you know whether there's a
19 you're looking for.                                           19 regulation in Washington that requires you to
20    Q. Oh. Are you a salaried employee?                        20 acknowledge and respond to claim communications
21    A. Yes.                                                    21 within ten days?
22    Q. Okay. And you get a paycheck every two                  22            MR. HARRIS: Object to the form.
23 weeks or 15 days; is that right?                              23      A. I do - I do know you need to respond if
24    A. Every two weeks.                                        24   the communication requires a response, but I didn't
25    Q. Okay. In addition to your salary, does                  25   know there was a ten-day requirement.

                                                       Page 26                                                         Page 28
 1    National General provide any additional compensation        1 BY MS. ROSATO:
 2    in the form or bonuses, anything like that?                 2    Q. Okay. Do you know if there's a regulation
  3      A. There is a bonus at the end of the year,              3 in Washington that requires an insurance adjuster to
 4 yes.                                                           4 attempt in good faith to make prompt, fair, and
 5     Q. Okay. How is the bonus - what are the                   5 equitable settlements when liability is reasonably
 6 factors that are taken into consideration for that             6 clear?
 7 bonus?                                                         7           MR. HARRIS: Object to the form.
 8     A. I really don't know. The only thing I                   8    A. Yes.

 9 know about that is there was one year there was a              9 BY MS. ROSATO:
10 reserving issue where we had to post a lot of                 10    Q. You do that?
11 reserves, and that reduced the amount of the bonus.           11    A. I believe so, yes.
12 Other than that, I think it's discretionary on our            12    Q. Okay.
13 managers. I really don't know.                                13    A. You know, I - it is a reasonable
14     Q. Okay. Have you ever - have you ever seen               14 requirement. Whether I have read that before or
15 a list of criteria that National General uses to              15 know it's specific to Washington, I guess I do not
16 determine how bonuses are calculated?                         16 know that.
17     A. No. I don't even know if one exists.                   17    Q. Okay. Fair enough. Thank you.
18     Q. Okay. Do you know or has anyone at                     18        Do you know whether there's a regulation
19 National General ever told you that there's any               19 in Washington that requires an insurance adjuster to
20 financial incentive based on how claims are resolved          20 communicate the results of an investigation timely?
21 for you personally?                                           21           MS. ROSATO: Object to the form.
22     A. No.                                                    22    A. I believe that makes sense, but I don't
23     Q. You don't know, or you've just never been              23 know the specific -
24 told?                                                         24 BY MS. ROSATO:
25     A. I've never been told that my - anything                25    Q. Okay. Do you know - okay. Do you know

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  1 whether there's a - a requirement in Washington for        1 my memory in - in the areas of some of the
 2 an insurance company to treat its own policy                2 handling.
 3 holders' interests with equal regard to the                 3     Q. Okay. But it sounds like at least in a
 4 insurance companies' interests?                             4 few instances, or maybe even only one, you did need
 5            MR. HARRIS: Object to the form.                  5 - you noticed there was something blacked out and
 6    A. I am not certain that is written, but                 6 you needed to go look at the non-blacked-out
 7 again, it makes sense that it would be.                     7 material to help get prepared for today.
 8 BY MS. ROSATO:                                              8            MR. HARRIS: Object to the form.
 9     Q. Okay. Okay. Can you tell me - other                  9     A. I looked at it. I don't know whether it's
10 than meeting with your attorney to prepare, tell me        10 going to be helpful or not.
11 everything that you did to prepare for today's             11         Does that make sense? I mean, I don't
12 deposition.                                                12 know what you're going to ask. So I - I did look
13    A. 1-1 met with our attorney and we                     13 at it.
14 reviewed notes, but that's the only thing I did. I         14 BY MS. ROSATO:
15 didn't look at the claim independently.                    15      Q. Okay. Okay. Fair enough.
16     Q. Okay. When you met with your attorney -             16         Did you talk with anyone - not including
17 and I don't want to know anything you talked about         17 Mr. Harris, did you talk with anyone at National
18 - but when you met with - and I assume you're              18 General to prepare for today?
19 referring to Mr. Harris; is that right?                    19     A. No.

20    A. Yes.                                                 20     Q. Okay. And it sounds like you didn't, on
21    Q. Okay. When you met with Mr. Harris and               21 your own without Mr. Harris present, review anything
22 you reviewed notes, did you review the claim notes         22 in writing to prepare for today; is that right?
23 that were essentially printed out?                         23     A. That's right.
24    A. I reviewed a portion of them, but I didn't           24      Q. Okay. Did you look at any National
25 review all of them.                                        25 General policies, procedures, anything like that to
                                                    Page 30                                                      Page 32
 1    Q. Okay. Do you know what portion you                    1 prepare for today?
 2 reviewed?                                                   2    A. No.

 3    A. I reviewed a portion of them that applied             3    Q. Let me ask you this: Does - you've
 4 to my handling.                                             4 mentioned toolkit. Does National General have
 5    Q. Okay. Do you know if when you reviewed                5 written guidelines, policies, procedures for
 6 those claim notes pertaining to your handling that          6 adjusters like you to review that relate to
 7 you were looking at claim notes that had what I'll          7 adjusting claims?
 8 call "redacted areas," so parts that were blacked           8    A. Yes.

 9 out?                                                        9    Q. Okay. Where are those maintained, if you
10    A. Yes.                                                 10 know?
11    Q. Okay. Were there any parts that you                  11    A. I know they are on our intranet, National
12 looked at that were blacked out and you needed to be       12 General intranet. There's a claims procedure manual
13 able to be prepared for today to go look at the            13 there.
14 non-blacked-out areas?                                     14    Q. Okay. Do you know if within that claims
15            MR. HARRIS: Object to the form.                 15 procedure manual there are guidelines or policies or
16    A. We did look a couple of those. I don't               16 procedures pertaining to adjustment of underinsured
17 think we looked at all of them.                            17 motorist claims?
18 BY MS. ROSATO:                                             18    A. There are claims handling guidelines, and
19    Q. Okay. And did - did looking at those                 19 there would be, yes, guidelines for that.
20 help prepare you for today's deposition?                   20    Q. Okay. Is that something you were trained
21    A. Possibly.                                            21 on as part of your employment at National General,
22    Q. Did it help refresh your recollection                22 just generally, those policies and procedures?
23 about things that had happened earlier last year?          23    A. Yes.

24    A. Yes. I don't know if those specific ones             24    Q. So I - when you started at National
25 did, but, yeah, looking at the claim notes refreshed       25 General, I assume - you let me know if I'm wrong -
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  1 that there's sort of like a general couple-day or           1 claim back in February of 2018, I want you to walk
  2 week training period where you sort of learn the            2 me through everything you did to investigate Mr.
  3 National General system; is that fair?                      3   Napkins' underinsured motorist claim.
 4       A. I met with the manager who hired me for a           4            MR. HARRIS: Object to the form.
 5    couple days, and I read the - you know, the               5            Go ahead.
  6 handling guidelines as part of that.                        6      A. I can try and do that. I don't have any
  7    Q. Okay. Got it. One of the things I saw in              7   notes in front of me, and I would need them really.
  8 the claim file was something called a "claim                8   So I'll do the best I can.
  9 director score." Are you familiar with that?                9   BY MS. ROSATO:
10    A. No.                                                   10      Q. Well, let me ask you this: Do you have
11    Q. Do you know anything about what a claim               11   the claim file there with you?
12 director score is?                                          12      A. I do not.
13       A. I have no idea. I've never heard that.             13      Q. Okay.
14     Q. Okay. Did you notice in reviewing the                14      A. I didn't-I didn't -
15 claim file here that there was a document entitled          15              MS. ROSATO: Eliot, do you have the
16    "claim director score"?                                  16   file for her?
17       A. I did not see that, no, I -                        17              MR. HARRIS: No.
18       Q. Okay. So if I - if I were to tell you              18   BY MS. ROSATO:
19 that there was a document that said the Napkins             19      Q. Okay. But you reviewed it to prepare for
20 claim got a score of 847, would that mean anythinc 20 your deposition, correct?
21 to you?                                            21          MR. HARRIS: Object to the form.
22       A. No.                                                22            Go ahead.
23       Q. Okay. Okay. I want you to walk me                  23      A. I reviewed a - I didn't review all the
24 through - and I want to just first start with your          24   notes. I reviewed a portion of them. So I - I can
25 investigation.                                              25 lead you through it as best I can,based on my
                                                     Page 34                                                       Page 36
 1        So my understanding is you were assigned              1 memory.
 2 Mr. Napkins' underinsured motorist claim in kind of          2 BY MS. ROSATO:
 3 mid-to-late February of last year. Does that sound           3     Q. Okay. Great. Okay. Go ahead.
 4 right?                                                       4    A. The claim would have come in. I would
 5    A. That sounds right.                                     5 have read, you know, all the notes.
 6     Q. Okay. When you - and the other thing I                6        I know that we had - I remember seeing an
 7 noticed - and let me know if - if this is correct            7 email yesterday when I was reviewing the claim that
 8 or not - is that the Hopkins claim was assigned to           8 I responded, I think, to your demand. I would have
 9 you because you were in the large loss unit, right?          9 read your information that you provided to us, and I
10    A. Probably, yes.                                        10 think I asked for some prior information, his prior
11     Q. Do you know what about the Napkins claim             11 medical.
12 made it get assigned to the large loss unit?                12        And then I know that we had some
13    A. I don't remember what that was. I didn't              13 discussions about what we felt the value of the
14 review that note.                                           14 claim was, and that's when we had a - a discussion
15     Q. You don't remember?                                  15 about, you know, what - the causation of the
16    A. I didn't review that note. So I really                16 injury. We involved a neurologist, got that report.
17 don't remember why that was assigned to us.                 17        So those are the types of investigation
18     Q. Okay. Sitting here today, can you tell me            18 that we did.
19 why you think the Hopkins claim was assigned to the         19     Q. Okay. Let me - let me ask you some more
20 large loss unit?                                            20 specific questions.
21    A. Probably because we were told there was a             21    A. Sure.

22 closed head injury or something like that. That             22     Q. So did your investigation essentially
23 would qualify as transfer so that's - I'm assuming          23 begin once you received the demand?
24 that's probably what it was.                                24    A. No. I would have-once I got the file
25     Q. Okay. So when you were assigned this                 25 transferred to me, that's when I would have begun my
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  1 investigation.                                            1 treatment and what the record said about his injury
 2     Q. All right. So as part of your                       2 rather than labeling him as an "eggshell," if that
 3 investigation, did you go through and read the             3 makes sense.
 4 claim - the notes already in the claim file, like,         4     Q. Okay. When you got Mr. Hopkins' demand,
 5 for example, Christina May's notes?                        5 did you review all of the medical records that were
 6     A. Yes.                                                6 provided?
 7     Q. Okay. Did you note that Christina May had           7     A. Yes.

 8 looked at the claim and she recommended that it be         8     Q. Did you review all the medical bills that
 9 reserved at $100,000?                                      9 were provided?
10     A. I don't recall. I would have read that,            10     A. Yes.

11 but I don't remember that as I sit here today, that       11     Q. Okay. Did you do any of your own medical
12 that was her recommendation.                              12 research after reviewing those materials?
13     Q. Okay. Do you remember that she had a note          13     A. I don't recall if I did in this case. If
14 in the claim file that said it was very possible          14 there's anything I don't understand, typically I
15 that Mr. Hopkins' claim could be worth the $250,000       15 will.
16 policy limit?                                             16     Q. Okay. Do you have access to medical
17     A. No, but that would explain why it came             17 research at National General?
18 over, if she had that - that belief.                      18     A. In term - in what way are you . . .
19     Q. Okay. Did you note that Christina May              19     Q. Is - does - does National General
20 also noted that it would be important to take into        20 subscribe to anything, for example, UpToDate or, you
21 account Mr. Napkins' being an eggshell?                   21 know, anything that allows you to - to access
22            MS. ROSATO: Object to the form.                22 medical literature?
23     A. I would have seen that, but I don't recall         23     A. We have access to the internet, and we do
24 as I sit here today that she wrote that.                  24 have access to Mitchell Decision Point.
25 BY MS. ROSATO:                                            25     Q. What's Mitchell Decision Point?

                                                   Page 38                                                      Page 40
  1     Q. Okay. Do - do you dispute that she wrote           1     A. It's an outside vendor. They will do
  2 those three things I just went over in the claim          2 billing review, and they have nurses available for
  3 file?                                                     3 review.
 4             MR. HARRIS: Object to the form.                4     Q. Well, what do you mean when you say
  5      A. No.                                               5 "billing review"?
  6            THE WITNESS: Oh, sorry.                        6      A. They will review bills for reasonableness,
  7      A. No.                                               7   necessity.
  8 BY MS.ROSATO:                                             8      Q. And then what do the nurses do?
 9        Q. When you hear that another adjuster wrote        9     A. We can request a nurse's review if we need |
10    a claim note describing Mr. Hopkins as an              10 to, to review the entire demand.
11    "eggshell," what does that mean to you?                11     Q. And what would nurse's review be for
12        A. That means to me that he is more                12 things beyond just reasonableness and necessity o1
13    susceptible to injury than perhaps somebody else.      13 medical bills, for example, just generally the
14        Q. Okay. Did you have any reason to disagree       14 injuries being alleged and does this make sense?
15    with that assessment by Christina May?                 15     A. Yes.
16        A. Not just by reading her note. I had no          16     Q. Okay. Have you ever done that before -
17    reason to.                                             17     A. I think -
18       Q. Well, after you got his demand and you           18     Q. - used the nurses?
19    reviewed all of his medical records, at that point,    19     A. I've used it maybe two or three times
20    did you have any reason to disagree that she had 20 since I've been there.
21    described Mr. Hopkins as an "eggshell"?             21    Q. And is it fair to say you did not do that
22       A. I don't recall whether that was a specific    22 in Mr. Hopkins' case?
23    question that I answered about whether he was an 23       A. That's fair to say.
24    "eggshell." I would have taken into consideration,     24      Q. Okay. So do you know or do you remembe|'
25    you know, his condition and the impact and the         25   - I'm not sure you answered this question - if you

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 1 did any medical research in Mr. Hopkins' - for Mr.          1 any of Mr. Hopkins' treating medical providers?
 2 Hopkins' claim after looking at his medical records         2     A. No.

 3 and bills?                                                  3 1 'Q. Why-why didn't you ask to speak with,'
 4    A, I don't recall whether I needed to do that           .4   interview, or get sworn testimony from any of Mr.'
 5 or not.                                                     5   Hopkins' treating medical providers?
 6     Q. If you did need to do that, would that be           ;6 1 'A. Typically, when a - an individual is
 7 noted somewhere in the claim file?                         .7   represented, I will go through his attorney.
 8    A. Maybe. Maybe not.                                    .8   i And you provided information and - and I
 9     Q. Would you do medical research and not note           9 believe I asked you for some additional evaluation'
10 that in the claim file?                                    10 to value his claim. So I would have possibly asked '
11    A. It's possible. If I - if it was a                    11 that later after receiving a full - his full •
12 definition of something that I didn't know what the        12 information.'
13 word was, I probably would not note that in the            13     Q. Okay. Is - isn't it true, Ms. Gordon,
14 claim file, that I looked it up on the internet.           14 that you did not ask to speak with any of Mr.
15     Q. Okay. So you reviewed Mr. Hopkins'                  15 Hopkins' treating providers before you made an offer
16 medical records. You reviewed his medical bills.           16 of $17,340?
17 You don't know if you did any medical research.            17    A. Yes, that's true.
18         Tell me anything else you did in your              18     Q. Okay. Isn't it also true that you said in
19 investigation before you made the first offer to him       19 making that offer that National General was not
20 of $17,340.                                                20 considering any permanency of Mr. Hopkins' injuries?
21    A. I'm not certain if there's anything else             21            MR. HARRIS: Object to the form.
22 that I did. I would need to look at the notes to           22    A. I would need to look at my - my notes to
23 refresh my memory on that.                                 23 see whether I had that. I - I can't - I don't
24     Q. And you just can't remember sitting here'           24 disagree with you, but - since you're looking at
25 right now?                                                 25 the notes, but I - I don't recall making that
                                                    Page 42                                                             Page 44
 1     A. No. I think that was almost a year ago,              1 determination.
 2 so I don't - you know, I handle a lot of claims so •        2 BY MS.ROSATO:
 3 I'm not sure which ones I do research on. I know            3    Q. You don't recall that you made that
 4 that I reviewed what you sent in and we evaluated           4 determination?
 5 it. I - I can't say as I'm sitting here today               5          MR. HARRIS: Object to the form.
 6 whether I did any additional research.'                     6 Asked and answered.
 7     Q. Okay. Before you made the offer of                   7          You can answer again.
 8 $17,340, do you know if you talked to Mr. Hopkins?          8    A. No.

 9     A. No. He was represented, so, I did not                9 BY MS. ROSATO:
10 speak with him.                                            10      Q. Okay. In making a determination that
11     Q. Did you ever ask to speak with Mr.                  11   National General was not considering any permanency
12 Hopkins?                                                   12   of Mr. Hopkins' injuries, what were you relying on
13     A. I don't recall asking that.                         13   to make that determination?
14     Q. Okay. Why not?                                      14      A. I remember looking over a note yesterday
15     A.  I don't - I would have to look at the              15   where I believe he - his records indicated his
16 notes. I'm not sure whether I asked to speak with          16   headaches had resolved. You know, I - I'm sure I
17 him or not.                                                17   based it - if I said that statement, I based it on
18     Q. Okay. Do you have any reason to disagree            18   whatever medical records that we had.
19 with my statement that you never asked to speak with       19      Q. What weight did you give in making the
20 Mr. Hopkins?                                               20   $17,000 to Mr. Hopkins' treating neurologist's
21             MR. HARRIS: Object to the form.                21   opinions?
22     A. No.                                                 22      A. I wish I could tell you. I don't have my
23 BY MS. ROSATO:                                             23   notes. I'd need to look at my evaluation, and
24     Q. Okay. Do you have any reason to believe             24   that's not something that I looked at in depth
25 you asked to speak with or get sworn testimony from        25   yesterday, or I'd have to look at his medical

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 1     records. So I'm - I really don't know what weight               1 appropriate, and there is always a range of value.;
 2     I gave to that. It - I'm sure I considered it.                  2 ) Q. Okay. And so why didn't you offer the )
 i3)     1 Q. Okay. If his treating neurologist had a;                '3   $84,000 if you had reserved the claim at that
 .4 statement in her record that said that his balance''               4 amount?
 i5 issues were permanent, okay, and if you had made the '             5)   A. Reserving a claim doesn't necessarily i
 .6    statement that National General was not considering'            6 reflect the settlement value of the claim. It's a
 7     any permanency when you made the $17,000 offer,)                7    reserve.
 8     isn't it true that National General was giving no'              8       Q. Okay. I'm going to go through just a few
 9     weight to that treating neurologist's statement?)               9 of the - I want to go through a general timeline
10                 MR. HARRIS: Object to the form.                    10 with you, a few of the facts, and just make sure -
11;       A. I don't believe we gave no weight to that                11 tell me if you agree that that's a fact in the case
12 statement, but I believe at that point, we still had i             12 or tell me if you disagree. Okay?
13 questions of causation of whether his ongoing'                     13    A. Okay.
14 balance issues were permanent as a result of this.                 14    Q. That on April 23rd, 2016, Mr. Hopkins was
15 accident. So there were still causation issues.'                   15 involved in a rear-end collision; is that correct?
16 BY MS. ROSATO:                                                     16    A. Yes, I believe.
17    Q. Okay. Sitting here today having reviewed                     17       Q. And National General -
18 your claim file - did you say yesterday that's when                18       A. I don't have the date. I don't have the
19 you reviewed your claim file?                                      19   date in front of me -
20    A. I reviewed part of it, yes. Not the                          20       Q. Okay.
21 entire thing.                                                      21       A. - but I'm trusting that that's correct,
22    Q. Okay. And that was yesterday?                                22   yes.
23        A. Yes.                                                     23       Q. Okay. You - you don't dispute that,
24        Q. Okay. So sitting here today, having re -                 24 right?
25     reviewed a part of the claim file yesterday, can you           25    A. Right.

                                                            Page 46                                                         Page 48
 1     tell me the basis for offering Mr. Napkins $17,340?             1    Q. Okay. And for this claim, do you agree
 2        A. 1-1 know I reviewed all of his medical                    2 that the liability of the following driver was
 3     records and I remember that he had a significant                3 clear?
 4     prior injury. And the offer that we made was based              4    A. Yes.
 5     on what we believe the - the records that you                   5    Q. Okay. Mr. Hopkins hadn't done anything -
 6     provided, what they showed as the appropriate value             6 he was not at fault in any way causing that
 7     for the claim based on the injuries from this                   7   collision, right?
 8     accident.                                                       8      A. Not that I'm aware of.
 9        Q. Okay. And can you tell me what                            9       Q. Okay. And he was injured in the
10     consideration you gave to his treating neurologist's           10   collision, correct?
11     opinions as set forth in her records?                          11      A. That's what he tells us. I wasn't there,
12        A. That was part of the entire picture. I                   12   so I don't know, but that's - that's what we
13     looked at all the records and took those into                  13    understand. That's what we're being told.
14     consideration with the rest of the materials.                  14       Q. Okay. Do you have some reason to believe
15            I can't - I don't have a percentage                     15   he was not injured in this collision?
16     weight. I don't know what exactly it is you're                 16      A. No.

17     looking for in terms of how much weight I gave it.             17       Q. Okay. You agree that Mr. Hopkins saw a
18        Q. Isn't it true that on the same day that                  18 doctor within a day and he reported balance issues
19     you made Mr. Napkins the $17,000 offer you had                 19 immediately to that first doctor?
20     requested and received approval to have the claim              20    A. I will take your word for it. I did not
21     reserved at $84,000?                                           21 review the records.
22        A. Yes.                                                     22    Q. Okay. Do you have any reason to disagree
23!       Q. Okay. Why didn't you offer Mr. Hopkins;                  23 with that?
24 $84,000?)                                                          24    A. No.

25'       A. We feel the offer that was made was i                    25    Q. Okay. Do you have any reason to disagree

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 1 with Mr. Hopkins' report that his symptoms started           1 in the claim file?
 2 the morning after the collision as soon as he woke           2     A. Yes.

 3 up?                                                          3     Q. Okay. Because you need to know when
 4     A, No.                                                   4 you're considering a permanent injury what that
 5     Q. Okay. You agree, I assume, that he did                5 person's life expectancy is to try and figure out
 6 have a severe traumatic brain injury in 2011?                6 the value of that permanent injury, correct?
 7     A. That's what we're told, yes.                          7     A. Correct.
 8     Q. Okay.                                                 8     Q. Okay. So if there are no notes in this
 9     A. I don't have those records. So I didn't               9 claim file about you doing any research about Mr.
10 have the records so I don't know, but that's my             10 Napkins' life expectancy, it's because you were not
11 understanding.                                              11 considering his - any permanency of his injury,
12     Q. Well, one of the records that you did have           12 correct?
13 was a record from four years after that collision           13            MR. HARRIS: Object to the form.
14 where he was seeing his doctor and the reports were         14     A. Correct. If we did not feel there was a
15 that he had recovered extremely well from that              15 permanent injury, there would be no reason for us to
16 traumatic - traumatic brain injury, correct?                16 look up his life expectancy.
17     A. Okay. Yes, I'm sure if - I - like I                  17 BY MS. ROSATO:
18 said, I do -                                                18     Q. Okay. At the time you made the $17,000
19     Q. Do you remember that record?                         19 offer to Mr. Hopkins, what information did you have
20     A. I don't have an independent recollection             20 in your investigation to support the notion that
21 of any of the records because I did not review them         21 this was not a permanent injury for Mr. Hopkins?
22 before I came in here today. So I will take your            22     A. I had the information that you provided to
23 word for it that that's - that we have that because         23 us.
24 you're the one that provided that to us, so I'm sure        24     Q. Okay. At the moment you made the $17,000
25 we had it.                                                  25 offer that did not consider permanency, you had not
                                                     Page 50                                                       Page 52
 1     Q. Okay. And you agree that this particular           1 yet had an independent doctor look at this claim,
 2 claim, the at-fault driver paid the $25,000 policy        2 correct?
  3   limits to Mr. Hopkins, correct?                        3     A. Correct.
 4        A. Correct.                                        4     Q. Okay. In evaluating his claim before you
 5        Q. And he concluded that settlement after          5 made the $17,000 offer, did you have any issue with
 6    receiving permission from National General, right?     6 the reasonableness and necessity of the medical
 7        A. Right.                                          7 bills he submitted?
 8        Q. Okay. When you evaluated Mr. Hopkins'           8     A. I don't believe so. I think that they
 9    claim, did you ever look up the Washington -           9 were paid by PIP.
10    basically, the jury instruction for what his life     10     Q. Correct. That's right.
11    expectancy was at the time of the collision?          11         So you weren't disputing the - any of the
12        A. I don't remember doing that.                   12 physical therapy, the balance therapy, the neurology
13        Q. Okay. Well, why not? I mean why didn't         13 appointments, you weren't disputing that any of that
14    you do that?                                          14 was related to the collision, correct?
15        A. I don't remember whether I did or didn't       15     A. I - I'm not sure whether I - I don't
16    do that. I ...                                        16 think so. I think that we - I included that.
17        Q. Okay. If a claimant, a National General        17     Q. Okay.
18    insured, is making a claim with a report of a         18     A. But I'd need to look at my evaluation, and
19    permanent injury, is going to the relevant state and, 19 I didn't review that in detail.'
20    looking up what the life expectancy of that person 20        Q. Okay. Tell me why you decided to have a •
21    is that something that's part of your normal          21 records review done.
22    practice?                                             22     A. When we evaluated the claim, I think you)
23        A. Yes.                                           23 and I had a discussion about a physical therapy note •
24        Q. Okay. In doing that, is - when you do          24 where it reflected Mr. Hopkins said he had these)
25 that research, is that something that you would note25         issues before the accident, the issues he was.

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                                                                  1 Q. Okay. Is he panel counsel? Is that how
                                                                  2 you got ahold of him?
                                                                  3 A. Yes.
                                                                  4 Q. So other than just Mr. Wilson saying, "Try
                                                                  5 Dr. Kutsy," there was no other reason that you
                                                                  6 selected him?
                                                                  7 A. Right. He gave me a few doctors, and I
                                                                  8 reached out to a - a few of them and he's the one
                                                                  9 that was - that responded and we were able to get
                                                                 10 the information to more quickly.
                                                                 11 Q. Okay. Did you have any information about
                                                                 12 Dr. Kutsy's background or his prior forensic work
                                                                 13 before you selected him to do the records review on
                                                                 14 Mr. Hopkins' claim?
                                                                 15 A. I looked at his CV. I did not have any
                                                                 16 other experience with him.
                                                                 17 Q. Did you know at the time that you hired
                                                                 18 him that over 95 percent of his forensic work is
                                                                 19 done for insurance companies?
                                                                 20 A. No.
                                                                 21 Q. Did you know at the time you hired him
                                                                 22 that he makes over to $200,000 a year doing forensic
                                                                 23 work for insurance companies?
                                                                 24 A. No.




 5 Q. But it sounds like you do think that there
 6 was something other than that one sentence that led
 7 you to conclude this may be pre-existing?
 8 A. Possibly.
 9 Q. Okay. Do you know one way or another?
10 A. I don't know one way or another. I know
11 that I - that - I do recall that physical therapy
12 note specifically, but the other records I would
13 have to review to see what else was in there and I
14 didn't do that before today.
15 Q. Okay. Tell me how you selected Dr. Kutsy.
16 A. I contacted one of our panel defense
17 counsel and asked him for somebody to send the
18 records to.
19 Q. Okay. Did you know Dr. Kutsy at all
20 before you selected him?
21     A.   No. I relied on Defense.
22     Q.   You relied on a defense attorney, right?
23     A.   Correct.
24     Q.   And that was Mr. Wilson in Portland?
25     A.   Yes.


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f
              '1     'A. I must have believed that there was a i                  1   I believe he did give him, you know, some injury
               2 question about them. Whether they were wrong or'                 2   from the accident.
              '3 not, I didn't know because I'm not a doctor. So we               3      Q. Okay. Do you have any understanding of
    t
              .4 wanted to hire a doctor to help us understand that.              4   how often Dr. Kutsy renders the opinion that someone

    , ^ A'
              '5      Q. Okay. National General paid Dr. Kutsy, it                5   involved in a collision should be better within
              •6   looks like, $1,500 for his review; is that right?              6   three months?
                                                                                  7
\ k.
              !7      A. I don't remember, but that sounds right.                        A. No. This is the only report I've ever
"•s '.
               8 ) Q. Okay. Why did you send Dr. Kutsy property                   8   seen from Dr. Kutsy.
    .I I-f
              (9 damage estimate and property damage photos for his'              9      Q. Okay. And you - you do have a memory, it
              10 review?)                                                        10   sounds like, that one of Dr. Kutsy's opinions was
             11    ; A. So he would understand the nature of the '               11   that Mr. Hopkins did not sustain a concussion.
              12 impact.i                                            ,           12      A. Yes.

              13    Q. Okay. Is that something, to your •*.", ^                  13      Q. Okay. Do you remember what Dr. Kutsy's
              14 knowledge, that a neurologist typically has when :'             14   basis for that opinion was?
              15 they're evaluating causation of injuries for a , "', .,         15      A. I believe it was based on his complaints
              16 patient?                                                        16   following the accident that weren't consistent with
              17    A. I don't know.                                             17   a concussion.
              18    Q. Okay. You agree Dr. Kutsy never saw or                    18      Q. And do you recall that he - he had
              19 met or examined Mr. Hopkins, right?                             19   actually two primary reasons why he said Mr. Hopkins
             20     A. Right.                                                    20   didn't sustain a concussion?
             21     Q. Right. He just looked at the records you                  21      A. I remember that one. I don't recall the
             22 provided him, correct?                                           22   other one.
             23     A. Correct.                                                  23      Q. Okay. Do you recall that the first one
             24     Q. Okay. And you got back a report from                      24   was that Mr. Hopkins did not have loss of
             25 Dr. Kutsy, right?                                                25   consciousness?

                                                                       Page 58                                                            Page 60
              1    A. Yes.                                                        1      A. I'll take your word for that.
              2    Q. And in that report, you agree with me that                  2      Q. Okay. And do you recall that the second
              3 Dr. Kutsy disagreed with every single one of                      3   opinion he gave was that basically there's no
              4 Mr. Hopkins' treating providers?                                  4   evidence for the notion that someone that's had a
              5           MR. HARRIS: Object to the form.                         5   prior head injury is more prone to a concussion?
              6    A. I would need to read his report, but I'll                   6      A. I remember reading that, yes.
              7 take your word for it.                                            7      Q. Okay. When you read that no loss of
              8 BY MS. ROSATO:                                                    8   consciousness was evidence that Mr. Hopkins did not
              9    Q. Okay. Well, Dr. Kutsy, he disagreed with                    9   sustain a concussion, did you go do any of your own
             10 Dr. Taylor, the neurologist, right?                              10   independent research to determine if that was a
             11    A. Okay.                                                      11   medically sound opinion?
             12    Q. Well, do you agree with that?                              12      A. I believe that there were other things he
             13    A. 1-1 would need to read his report. I                       13   mentioned like nausea or dis - loss of
             14 didn't read that before I came, so I can't                       14   consciousness was not the only factor he looked at
             15 specifically say what his response was to each of                15   when determining whether he had a concussion, I did
             16 the physicians.                                                  16   not do any of my own research. You know, you hope
             17    Q. Okay. Do you recall what Dr. Kutsy's                       17   that the neurologist is, you know, qualified to make
             18 opinions were after doing the records review?                    18   that distinction, and any research I do online, I
             19    A. I believe Dr. Kutsy said that he did not                   19   can't imagine would dispute what he had to say.
             20 see any reason why he would have sustained a                     20      Q. How many head injury cases have you
             21 concussion in this accident.                                     21   adjusted over the years?
             22        I believe he said a soft tissue injury was                22      A. I am not sure. Several.
             23 reasonable, and I believe there was another                      23      Q. More than ten?
             24 diagnosis of some type of vertigo and that he said a             24      A. Probably.
             25 treatment for three months would be appropriate. So              25      Q. Do you think more than 100?

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 1     A. No.                                                 1 "the diagnosis is minor cervical strain and benign
 2     Q. Okay. And you said you have access to the           2 vertigo. Should have been better in three months."
 3 internet there at National General?                        3 Does that sound right?
 4     A. Yes.                                                4            MR. HARRIS: Object to the form.
 5     Q. Okay. Have you ever - ever, and with -              5     A. Yes.

 6 including with respect to Mr. Hopkins' claim, done         6 BY MS. ROSATO:
 7 research to find out whether or not concussions are        7     Q. Okay. So what I am trying to understand
 8 usually associated with loss of consciousness?             8 is when Dr. Kutsy gave you a report that disagreed
 9     A. I don't know what you're asking.                    9 with all of Mr. Hopkins' treating providers and he
10     Q. Okay. Well, I'm asking - you got back a            10 concluded that there was no concussion and the first
11 report from Dr. Kutsy, who concluded, contrary to         11 reason for that was no loss of consciousness, did
12 all of Mr. Hopkins' treating providers, that              12 you, based on your training, experience, having
13 Mr. Hopkins did not suffers concussion, right?            13 handled other head injury cases, look at that
14     A. Right.                                             14 statement and say, "I'm going to check the medical
15     Q. Okay. And the lead reason that Dr. Kutsy           15 literature to see if that makes sense"?
16 gave for Mr. Hopkins not suffering a concussion was       16            MR. HARRIS: Object to the form.
17 that he did not lose consciousness.                       17 That misstates the - misstates Dr. Kutsy's report.
18        That was the first reason he listed,               18     A. I did not look at that because my
19 right?                                                    19 recollection is I took that as just one piece in a
20     A. I would need to read what he said. I               20 string of reasons why he felt there was no
21 believe that was one in a list of factors that he         21 concussion. I didn't believe that it was just
22 looked at. It - that was not a standalone.                22 because there was no loss of consciousness.
23        Just because he didn't lose consciousness          23 BY MS. ROSATO:
24 doesn't mean he didn't sustain a concussion. I            24     Q. Okay. Ms. Gordon, are you aware that the
25 think there were other factors there.                     25 medical literature reports that in the vast majority
                                                   Page 62                                                      Page 64
 1    Q. Right, and we just talked about that.                1 of concussions, there is no loss of consciousness?
 2 There were actually two main factors:                      2     A. I am not aware of that, but that is not
 3        The first was that there was no loss of             3 surprising to me.
 4 consciousness, right, and the second was that just         4     Q. Okay. Did you do any of your own
 5 because Mr. Napkins had had a prior head injury,           5 independent research to check the soundness of Dr.
 6 that doesn't make him more prone to a later                6 Kutsy's conclusion that a prior head injury does not
 7 concussion. Those were his two primary reasons,            7 make him more prone to a concussion?
 8 right?                                                     8     A. No.

 9            MR. HARRIS: Object to the form.                 9     Q. Okay. Would it surprise you to know that
10    A. If you could read to me that sentence               10 the medical literature, for example, the Center For
11 where he has the list of items, I would be able to        11 Disease Control website that has facts on brain
12 better answer that question.                              12 injury and concussion, is directly to the contrary
13 BY MS. ROSATO:                                            13 of that statement by Dr. Kutsy?
14    Q. Well, I don't have the sentence in front            14            MR. HARRIS: Object to the form.
15 of me.                                                    15     A. Would it -
16    A. Okay.                                               16            MR. HARRIS: You can answer if you
17    Q, Let me see.                                         17 know.
18    A. I do remember there was a list. Loss of             18     A. Would it surprise me? I - no. I know
19 consciousness was included in the list, so it was         19 that there are a lot of differing reports with
20 not just that from what I remember.                       20 injuries and different opinions. So no, it wouldn't
21    Q. Okay. So his conclusion is no concussion            21 surprise me.
22 was suffered, and his primary reasons are no loss of      22 BY MS. ROSATO:
23 consciousness and prior concussions don't make Mr.        23     Q. Okay. Would you have any reason to
24 Hopkins more prone.                                       24 disagree with the Center For Disease Control's facts
25        And then he goes on to say, like you said,         25 statement on brain injury and concussion?
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                                                           Page 65                                                            Page 67
  1      A. I would not. I'm not a doctor.                           !1 1 i Q. Okay. Isn't it true that you only made
  2      Q. Okay. Does it make common sense to you to                 2 the $40,000 to Mr. Hopkins after he notified i
 3 conclude that someone that has had a prior brain                   3 National General that he was going to be making
 4 injury is not more prone to concussion?                           •:4   claims for failure to act in good faith? i
 5     A. Would you say that again, please?                           5      'A. I am not certain. I believe that the - '
 6     Q. Sure. Does Dr. Kutsy's opinion that'                        6    we had reevaluated the case and were planning on i
 7 because Mr. Hopkins suffered a prior traumatic brain)              7    extending that offer before that happened. I think'
 8 injury, he is not more prone to concussion, does l                '8 I left you a message and then didn't hear back from
 9 that opinion make common sense to you?                             9 you and I didn't follow up until after the suit was)
10     A. Not necessarily. I - you know, I - I                       10 filed.)
11 think it depends upon the individual and what kind '              11     Q. Okay. Here's something I need to try and
12 of injury they suffered..                                         12 understand from you, and I apologize for the length
13        So like I said, I'm not a doctor and I i                   13 of this question.
14 don't know, you know, the different areas, you know,'             14         When you made Mr. Hopkins the offer of
15 where they would suffer an injury or, I don't know)               15 $17,000, at that point in time, you were accepting
16 - didn't know the nature of his prior injury. So I'               16 that all of his medical treatment over an 18-month
17 really don't know.                                                17 or almost two-year period had been reasonable and
18        So that - that doesn't surprise me. 11                     18 necessary, right?
19 mean, it's not a surprising statement. Does that'                 19     A. I would have to look at my evaluation, but
20 answer your question?                                             20 I'm assuming so.
21     Q. Sure. Let me just ask you this:                            21      Q. Okay. And you then got a report from
22        When you got Dr. Kutsy's report and you                    22 Dr. Kutsy where he said Mr. Hopkins should have been
23 read  his opinion that Mr. Hopkins should have been               23 better and stopped treating after three months,
24 better in three months and had a mild strain and                  24 right?
25 benign vertigo, did that seem reasonable to you?                  25     A. Right.

                                                           Page 66                                                            Page 68
 1       A. It -                                                      1    Q. Correct?
 2              MR. HARRIS: Object to the form.                       2    A. Correct.
 3    Misstates the report.                                           3    Q. Why, then, did you increase the offer to
 4              Go ahead.                                             4 $40,000 when Dr. Kutsy actually disagreed with your
 5       A. It seemed reasonable that - based upon                    5 PIP adjusters?
 6    the whole picture, that that was a reasonable                   6    A. That's a good question. I believe -1
 7    conclusion.                                                     7 would need to look at my evaluation, but perhaps I
  8 BY MS. ROSATO:                                                    8 did not consider maybe all of his physical therapy,
 9       Q. Okay. Did it seem reasonable to you for                   9 or maybe Dr. Kutsy's report made me believe that
10    Dr. Kutsy to conclude that any ongoing gravitational           10 there was a little more of an injury than what I had
11    vertigo or balance issues were because he lived on a           11 considered in my evaluation. I would need to look
12    boat as opposed to this collision?                             12 at my evaluation and the records again to answer
13       A. It - like I said, he - I'm not a doctor.                 13 those questions.
14    He is. It wasn't a surprising concept.                         14    Q. Okay.
15       Q. Okay. After you received Dr. Kutsy's                     15           MR. HARRIS: Counsel, can we take a
16    report, did you increase the offer to Mr. Hopkins? i           16 break when you're ready?
17       A. Yes.                                                     17           MS. ROSATO: Yeah. I actually have,
18       Q. Okay. What did you increase the offer to? i              18 like, two more questions -
19       A. To 40,000.)                                              19           MR. HARRIS: Okay.
20       Q. Why did you wait two months after getting                20              MS. ROSATO: - if you can believe
21    Dr. Kutsy's report to make that offer? i                       21    that. You - you can take a break, though, if you
22       A. I believe that I called you right away to i              22    want to. That's completely your prerogative. Just
23    talk about it and had in my notes that I was going i           23    let me know.
24    to extend that offer, and then I don't believe we;             24              MR. HARRIS: No. If you have two
25    spoke for that period of time.'                                25    questions, let's just go ahead.

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                                                    Page 69                                                             Page 71
 1            MS. ROSATO: Okay.                                1               MR. HARRIS: Yes, we are.
 2 BY MS. ROSATO:                                              2               MS. ROSATO: Okay. Great.
 3     Q. Ms. Gordon, I want you to assume that                3                Nice to meet you, Ms. Gordon. I am
 4 Dr. Kutsy's report reached the same conclusions that        4   always fast. I try to keep it as painless as
 5 Mr. Napkins' treating neurologist, Dr. Taylor, has          5   possible.
 6 reached,okay?                                               6               THE WITNESS: Thank you.
 7     A. Okay.                                                7               COURT REPORTER: And can I get your
 8     Q. That Mr. Hopkins suffered a concussion,              8   order real quickly, ma'am?
 9 that he has gravitational vertigo and balance issues        9                MS. ROSATO: Yes. I would like an
10 related to the collision, and that those are - he's        10   e-transcript, and I'd also like the video, please.
11 gotten better but he's not going to get all the way        11   MPEG1, and we will do the syncing.
12 better and those are permanent conditions for the          12               VIDEOGRAPHER: Okay. Great.
13 remaining 14 years of his life, okay?                      13                MS. ROSATO: Great. Thank you.
14     A. Okay.                                               14               COURT REPORTER: How about you? Sir,
15     Q. Okay. How would National General value              15   how about you?
16 that claim?                                                16                MR. HARRIS: I will take the e-tran,
17            MR. HARRIS: Object to the form.                 17   please.
18     A. I would probably consult with our defense           18               VIDEOGRAPHER: Do you need the video?
19 counsel to see what kind of value to place on that.        19                MR. HARRIS: I'll let you know about
20 There are, I think, a lot of factors that would go         20   the video.
21 into that.                                                 21               VIDEOGRAPHER: Okay.
22         I would probably look at, you know, his            22                MR. HARRIS: Probably not, but I'll
23 lifestyle and his - the effect on him and, you             23   let you know.
24 know, how he feels about that, how's he able to            24         (WHEREIN, the proceedings were concluded
25 cope. So I think there's a lot that goes into that.        25   in the matter at 1:17 p.m.)

                                                    Page 70                                                             Page 72
 1        So I really - you know, I don't - I                  1           CERTIFICATE OF REPORTER
 2 can't give you a dollar figure, but I would look at         2
 3 those - those items.                                        3               I, Susan J. Pybas, CCR, No.
 4     Q. Okay. And the fact of the matter is                  4 1446(T) within the State of Missouri, do hereby
 5 that's not an evaluation you've done at this point          5 certify that the witness whose testimony appears in
 6 in time, is it?                                             6 the foregoing deposition was duly sworn by me; that
 7            MR. HARRIS: Object to the form.                  7 the testimony of said witness was taken by me to the
 8            You  can answer if you understand.               8 best of my ability and thereafter reduced to
 9             THE WITNESS: Okay. I think I                    9 typewriting under my direction; that I am neither
10 understand.                                                10 counsel for, related to, nor employed by any of the
11   A. Not yet.                                              11 parties to the action in which this deposition was
12 BY MS. ROSATO:                                             12 taken, and further, that I am not a relative or
13    Q. Okay.                                                13 employee of any attorney or counsel employed by the
14          MS. ROSATO: I don't have any other                14 parties thereto, nor financially or otherwise
15 questions.                                                 15 interested in the outcome of the action.
16             Eliot, do you have any?                        16
17             MR. HARRIS: I do not at this time.             17
18             MS. ROSATO: Okay. Great.                       18
19             VIDEOGRAPHER: We're going off the              19 Susan J. Pybas, CCR
20   record.                                                  20
21             MS. ROSATO: Thank you for your time.           21
22             VIDEOGRAPHER: We're going off the              22
23   record at approximately 1:17 p.m.                        23
24          MS. ROSATO: You're reserving                      24
25 signatures?                                                25
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